Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 1 of 76 PageID: 60263




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


    IN RE: JOHNSON & JOHNSON             Civil Action No. 3:16-md-2738-
    TALCUM POWDER PRODUCTS               FLW-LHG
    MARKETING, SALES
    PRACTICES, AND PRODUCTS              MDL No. 2738
    LIABILITY LITIGATION


   THIS DOCUMENT RELATES TO ALL CASES


     THE PLAINTIFFS’ STEERING COMMITTEE’S MEMORANDUM OF
      LAW IN RESPONSE AND OPPOSITION TO J&J’S CONDITIONAL
    MOTION TO EXCLUDE CERTAIN PLAINTIFFS’ EXPERTS’ OPINIONS
                  FOR LACK OF QUALIFICATIONS
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 2 of 76 PageID: 60264




                                         TABLE OF CONTENTS

   TABLE OF CONTENTS ........................................................................................... i
   TABLE OF AUTHORITIES .................................................................................... ii
   I.      INTRODUCTION ...........................................................................................1
   II.     THIRD CIRCUIT LEGAL STANDARD FOR ASSESSING EXPERT
           QUALIFICATIONS ........................................................................................2
   IV.     J&J’S CHALLENGE THAT SEVERAL OF THE PSC’S EXPERT ARE
           NOT QUALIFIED TO OFFER OPINIONS ABOUT BIOLOGICAL
           PLAUSIBILITY IS MERITLESS ...................................................................7
   V.      J&J’S CHALLENGE THAT SEVERAL OF THE PSC’S EXPERTS ARE
           NOT QUALIFIED TO OFFER OPINIONS ABOUT ASBESTOS AND
           OTHER CARCINOGENS CONTAINED IN TALCUM POWDER
           PRODUCTS IS MERITLESS .......................................................................10
   VI.     EACH OF THE PSC’S EXPERTS IS QUALIFIED TO TESTIFY AS TO
           THEIR EXPERT OPINIONS ........................................................................12
           A. Arch Carson, MD, Ph.D. ..........................................................................12
           B. Robert Cook, Ph.D. ...................................................................................15
           C. Michael Crowley, Ph.D.............................................................................19
           D. Sarah E. Kane, MD ...................................................................................23
           F. Shawn Levy, Ph.D .....................................................................................33
           G. Anne McTiernan, MD, Ph.D. ...................................................................37
           H. Patricia Moorman, Ph.D., MSPH .............................................................42
           I. Laura Plunkett, Ph.D., DABT ....................................................................46
           J. Ghassan Saed, Ph.D. ..................................................................................50
           K. Jack Siemiatycki, Ph.D. ............................................................................53
           L. Sonal Singh, MD, MPH ............................................................................57
           M. Rebecca Smith-Bindman, MD .................................................................61
        N. Judith Zelikoff, Ph.D. ...............................................................................65
   VII. CONCLUSION..............................................................................................69




                                                           i
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 3 of 76 PageID: 60265




                                      TABLE OF AUTHORITIES


   Cases

   Bartoli v. Novartis Pharm. Corp.,
          No. CIV.A. 3:13-0724, 2014 WL 1515870 (M.D. Pa. Apr. 17, 2014) ...........9
   Burton v. Danek Med., Inc.,
          No. CIV.A. 95-5565, 1999 WL 118020 (E.D. Pa. Mar. 1, 1999) ...................4
   Elcock v. Kmart Corp.,
          233 F.3d 734 (3d Cir. 2000) ............................................................................4
   Ford v. Ford Motor Co.,
          311 F. Supp. 3d 667 (D.N.J. 2017) ..................................................................4
   Holbrook v. Lykes Bros. S.S. Co.,
          80 F.3d 777 (3d Cir. 1996) ................................................................... 3, 4, 13
   In re Fosamax (Alendronate Sodium) Prod. Liab. Litig.,
          No. CIV.A. 08-08, 2013 WL 1558690 (D.N.J. Apr. 10, 2013) ..................3, 7
   In re Paoli R.R. Yard PCB Litig. (“Paoli II”),
          35 F.3d 171 (3rd Cir. 1994) .............................................................................4
   In re Paoli R.R. Yard PCB Litig.,
          916 F.2d 829 (3d Cir. 1990) ................................................................. 4, 5, 13
   In re Phenylpropanolamine (PPA) Prod. Liab. Litig.,
          289 F. Supp. 2d 1230 (W.D. Wash. 2003) ......................................................9
   In re Zoloft (Sertraline Hydrocloride) Prod. Liab. Litig.,
          26 F. Supp. 3d 466 (E.D. Pa. 2014) .................................................................7
   McKenzie v. Dematic Corp.,
          No. CV 3:12-250, 2016 WL 707485 (W.D. Pa. Feb. 22, 2016) .....................4
   Milward v. Acuity Specialty Prod. Grp., Inc.,
          639 F.3d 11 (1st Cir. 2011)..............................................................................8
   Perry v. Novartis Pharm. Corp.,
          564 F. Supp. 2d 452 (E.D. Pa. 2008) ...............................................................9
   Pineda v. Ford Motor Co.,
          520 F.3d 237 (3d Cir. 2008) ........................................................................3, 4
   Schneider ex rel. Estate of Schneider v. Fried,
          320 F.3d 396 (3d Cir. 2003) ............................................................................4
   Surace v. Caterpillar, Inc.,
          111 F.3d 1039 (3d Cir. 1997) ..........................................................................4


                                                          ii
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 4 of 76 PageID: 60266




   Waldorf v. Shuta,
        142 F.3d 601 (3d Cir. 1998) ............................................................................4


   Rules

   Fed. R. Evid. 702 .......................................................................................................3


   Other Citations

   A.B. Hill, The environment and disease: association or causation? Proc. Royal
         Soc. Med. B, 58, 295-300 (1965) ................................................................7, 9
   Houghton SC, Reeves KW, Hankison SE, Crawford L, Lane D, Wactawski-Wende
         J, et al. Perineal powder use and risk of ovarian cancer. Journal of the
         National Cancer Institute. 2014;106(9) ...........................................................6
   Howick, et al., The evolution of evidence hierarchies: what can Bradford Hill’s
         ‘guidelines for causation’ contribute? J. Royal Soc. Med., 102:186-194
         (2009) ...........................................................................................................8, 9
   J.M. Schildkraut, et al., Association Between Body Powder Use and Ovarian
         Cancer Epidemiology Study (AACES), Cancer, Epidemiology, Biomarkers,
         & Prevention, 25(10), 1411 (Oct. 2016)........................................................44
   Langseth, H., S. E. Hankinson, J. Siemiatycki and E. Weiderpass (2008), Perineal
         use of talc and risk of ovarian cancer. Journal of Epidemiology &
         Community Health 62(4): 358-360 ...............................................................55
   N.M. Fletcher, et al., Reproductive Sciences, Molecular Basis Supporting the
         Association of Talcum Powder Use with Increased Risk of Ovarian Cancer,
         20(10), 1–11 (2019). ......................................................................................50
   Reference Manual on Scientific Evidence (3d Ed. 2011)..........................................8




                                                               iii
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 5 of 76 PageID: 60267




         The Plaintiffs’ Steering Committee (“PSC”) submits this Memorandum of

   Law in response and opposition to Defendants Johnson & Johnson and Johnson &

   Johnson Consumer Inc.’s Conditional Motion to Exclude Certain Plaintiffs’

   Experts’ Opinions for Lack of Qualifications [Dkt. No. 9736-3] (hereinafter “Defs.

   Mem., Qualifications”). For the foregoing reasons, this Court should deny

   Defendants Johnson & Johnson and Johnson & Johnson Consumer Inc.’s

   (“hereinafter “J&J”) motion.

   I.    INTRODUCTION

         J&J’s “conditional[]” challenge to the PSC’s experts cannot prevail under the

   Third Circuit’s standard for admission of expert testimony. Contrary to J&J’s largely

   unfounded arguments, the PSC’s experts are well-qualified to offer all proffered

   testimony, providing expertise extensively supported by their knowledge, training

   and experience in their respective fields. J&J primarily challenges the PSC’s

   experts’ qualifications to offer opinions about biological plausibility, and the

   presence of carcinogenic contaminants, including asbestos, in Johnson’s Baby

   Powder and Shower-to-Shower sold to consumers (“Talcum Powder Products”). The

   PSC addresses these recurring issues in general sections below, followed by a

   discussion of expert-specific qualifications.




                                             1
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 6 of 76 PageID: 60268




   II.      THIRD CIRCUIT LEGAL STANDARD FOR ASSESSING EXPERT
            QUALIFICATIONS
            The PSC incorporates the Plaintiffs’ Steering Committee’s Omnibus Brief

   Regarding Daubert Legal Standard and Scientific Principles for Assessing General

   Causation1 and highlights the following important points:

            J&J concede that the PSC’s experts are as qualified as defense experts as to

   their proffered testimony2 and therefore challenge their qualifications only “in

   anticipation” of “the PSC’ qualification challenges” of “J&J’ experts.”3 J&J states,

   “In light of the experience of the experts on both sides and the complexities of the

   scientific issues in this litigation, the J&J defendants believe that it would be a waste

   of time and resources for the parties and the Court to spend a significant amount of

   energy debating whether the parties’ experts are qualified to offer the opinions in

   their reports.”4

            J&J acknowledges that the Third Circuit follows liberal qualification

   requirements, recognizing that a “broad range of knowledge, skills, and training


   1
       Dkt. No. 9732 (hereinafter “PSC’s Omnibus Memorandum”).
   2
     Defs.’ Mem., Qualifications, at 1 (“experts for both parties are trained and
   experienced in overlapping fields – such that any qualifications challenge to one
   party’s experts would apply equally to witnesses on the other side as well.”).
   3
     Id. at 1-2 (“[I]n anticipation of the PSC’ qualification challenges with respect to
   J&J’ experts, the J&J defendants respectfully submit this Memorandum to address
   the PSC’ experts’ qualifications…. J&J thus conditionally move to exclude the
   opinions of these experts”).
   4
       Id. at 1.


                                              2
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 7 of 76 PageID: 60269




   qualify an expert,”5 and noting that “most arguments about an expert’s qualifications

   relate more to the weight to be given the expert’s testimony than to its

   admissibility.”6

            J&J also presents their expert qualification motion as a “conditional”

   challenge of each expert witness. This contention of compromise “in anticipation of

   the PSC’ qualification challenges,” does not reflect the Third Circuit standard for

   expert qualification.

            The Third Circuit, instead, looks to the Federal Rules of Evidence, which

   govern the admissibility of expert testimony.7 Fed. R. Evid. 702 provides that

   experts may be permitted to testify if they are “qualified” “by knowledge, skill,

   experience, training or education” and will “help the trier of fact to understand the

   evidence or to determine a fact in issue.”8 Fed. R. Evid. 702 additionally requires

   that (1) the testimony be “based upon sufficient facts or data;” (2) the testimony be

   “the product of reliable principles and methods;” and (3) the expert witness have

   “reliably applied the principles and methods to the facts of the case.” The Third




   5
       Id. at 2 (citing Pineda v. Ford Motor Co., 520 F.3d 237, 244 (3d Cir. 2008).
   6
    Id. at 2 (citing Holbrook v. Lykes Bros. S.S. Co., 80 F.3d 777, 782–83 (3d Cir.
   1996).
   7
    See In re Fosamax (Alendronate Sodium) Prod. Liab. Litig., No. CIV.A. 08-08,
   2013 WL 1558690 (D.N.J. Apr. 10, 2013).
   8
       Id. (citing Fed. R. Evid. 702).


                                              3
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 8 of 76 PageID: 60270




   Circuit has come to interpret these elements as a “trilogy” of restrictions:

   qualification, reliability, and fit.9

           Qualification, specifically, refers to the requirement that a witness have

   “specialized expertise.”10 The Third Circuit interprets this language liberally.11

   While acknowledging that the expert witness “must possess skill or knowledge

   greater than the average layman,” it recognizes “no litmus test to qualify an

   expert.”12 The Court qualifies experts with a “broad range of skills and training,”13

   and “eschew[s] imposing overly rigorous qualification requirements,” noting that

   “most arguments about an expert’s qualifications relate more to the weight to be

   given the expert’s testimony than to admissibility.”14




   9
    Schneider ex rel. Estate of Schneider v. Fried, 320 F.3d 396, 404 (3d Cir. 2003);
   McKenzie v. Dematic Corp., No. CV 3:12-250, 2016 WL 707485 (W.D. Pa. Feb. 22,
   2016).
   10
     Id.; see also Pineda, 520 F.3d at 244; Elcock v. Kmart Corp., 233 F.3d 734, 741
   (3d Cir. 2000); Waldorf v. Shuta, 142 F.3d 601, 625 (3d Cir. 1998).
   11
     Ford v. Ford Motor Co., 311 F. Supp. 3d 667, 673–74 (D.N.J. 2017) (citing
   Schneider ex rel. Estate of Schneider, 320 F.3d at 405).
   12
     Elcock, 233 F.3d at 741 (citing Waldorf, 142 F.3d at 625) (accord Surace v.
   Caterpillar, Inc., 111 F.3d 1039, 1056 (3d Cir. 1997)).
   13
     Ford, 311 F. Supp. 3d at 674.; see also Pineda, 520 F.3d at 244; Burton v. Danek
   Med., Inc., No. CIV.A. 95-5565, 1999 WL 118020 (E.D. Pa. Mar. 1, 1999); In re
   Paoli R.R. Yard PCB Litig. (“Paoli II”), 35 F.3d 171, 741 (3rd Cir. 1994); In re Paoli
   R.R. Yard PCB Litig., 916 F.2d 829, 855 (3d Cir. 1990).
   14
        Holbrook, 680 F.3d at 782.


                                             4
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 9 of 76 PageID: 60271




              To this end, the Third Circuit has reasoned that it is an “abuse of discretion”

   to exclude expert testimony solely because a proffered expert is not the “best

   qualified or because the proposed expert does not have the specialization that the

   court considers most appropriate.”15 For instance, the Court has noted that its

   jurisprudence is inconsistent with insistence that a qualified expert meet specific

   degree or background requirements.16

   III.       J&J’S CHALLENGES ARE “CONDITIONAL”

              Despite J&J’s almost forty pages of argument to exclude the opinions of the

   PSC’s experts based on their qualifications, J&J states that the entire exercise is a

   “waste of time and resources.”17 J&J effectively concede that the PSC’s experts are

   qualified in their respective fields: their arguments are “conditional[],” as they only

   “move to exclude the opinions of these experts in part or in full based on lack of

   qualifications to the extent the Court considers the PSC’s motions related to

   qualifications.”18

              J&J repeatedly asks the Court to exclude experts only where the PSC argued

   for exclusion on similar grounds. For example, the PSC asks the Court to exclude


   15
        Id.
   16
     Id. (quoting Paoli I, 916 F.2d at 856) (“Insistence on a certain kind of degree or
   background is inconsistent with our jurisprudence in this area.”).
   17
        Defs.’ Mem., Qualifications at 1.
   18
        Id.


                                                 5
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 10 of 76 PageID: 60272




    Dr. Anne McTiernan, among other experts, on the grounds that she “has not

    published any articles on the causes of ovarian cancer” and that her opinions were

    formed after she was retained in the litigation.19 This is just an example of J&J’s

    anemic arguments. Dr. McTiernan is in fact imminently qualified, has published

    several manuscripts on gynecologic cancer, specifically ovarian cancer, and

    incredibly was an investigator in one of the only three cohort studies significant to

    this litigation. The challenge to Dr. McTiernan’s qualifications, is an example of

    J&J’s over-reach.20

             Where J&J argues to exclude an expert if the PSC argued for exclusion on

    similar grounds, J&J fails to explain why those grounds are relevant to a specific

    expert’s qualifications. J&J’s contentions do not reflect the Third Circuit standard

    for expert qualification. J&J’s challenges to experts only on the presumption that

    “the PSC did it too” cannot prevail.

             As the Court is aware, all experts are not automatically qualified. Though the

    Third Circuit standard is liberal as to qualifications, it is not non-existent. The PSC

    raised significant issues regarding the qualifications of Defendants’ experts for the



    19
         Id. at 17-18.
    20
      Houghton SC, Reeves KW, Hankison SE, Crawford L, Lane D, Wactawski-
    Wende J, et al. Perineal powder use and risk of ovarian cancer. Journal of the
    National Cancer Institute. 2014;106(9) (Women’s Health Initiative cohort study
    (WHI)), see attached as Exhibit 1.


                                                6
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 11 of 76 PageID: 60273




    opinions being offered. The parties’ respective motions should be considered taking

    into account the applicable law and the education, training and expertise of the

    respective expert for the opinions being offered.

    IV.   J&J’S CHALLENGE THAT SEVERAL OF THE PSC’S EXPERT ARE
          NOT QUALIFIED TO OFFER OPINIONS ABOUT BIOLOGICAL
          PLAUSIBILITY IS MERITLESS

          J&J’ “conditionally” challenges seven (7) expert witnesses21 specifically as to

    their qualifications to offer opinions about “biological plausibility.”

          Biological plausibility is one part of a Bradford Hill causation analysis.22 In

    1965, Bradford Hill distinguished biological plausibility from causation: “[I]t will

    be helpful if the causation we suspect is biologically plausible.”23 The plain meaning

    of the term biological plausibility, should not be overlooked: assessing biological

    plausibility entails assessing whether it makes biological sense in light of what is

    known that the exposure to the agent (talcum powder) causes the outcome (ovarian




    21
      The seven witnesses are: Michael Crowley, Ph.D.; Shawn Levy, Ph.D.; Patricia
    Moorman, Ph.D., M.S.P.H.; Laura Plunkett, Ph.D., D.A.B.T.; Sonal Singh, M.D.,
    Ph.D.; Rebecca Smith-Bindman, M.D.; and Judith Zelikoff, Ph.D.
    22
      See In re Fosamax (Alendronate Sodium) Products Liability Litigation, 2013 WL
    1558690, at *3; accord In re Zoloft (Sertraline Hydrocloride) Prod. Liab. Litig., 26
    F. Supp. 3d 466, 474 (E.D. Pa. 2014).
    23
      A.B. Hill, The environment and disease: association or causation? Proc. Royal
    Soc. Med. B, 58, 295-300 (1965) (“Hill (1965)”)(emphasis added), see attached as
    Exhibit 2.



                                               7
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 12 of 76 PageID: 60274




    cancer). Put differently, is there a biological reason that is inconsistent with

    causation? The seven (7) PSC experts are experts in the fields of medicine,

    epidemiology, pharmacology, biochemistry, microbiology, chemistry, pathology,

    and toxicology, and all have the requisite training to assess biological plausibility.

    All certainly “possess skill or knowledge greater than the average layman” on the

    issues pertaining to biological plausibility. The seven (7) experts have various health

    science backgrounds, such that assessing biological certainly fits within their areas

    of expertise.

             The Reference Manual on Scientific Evidence describes biological plausibility

    as a judgment based on existing knowledge as to whether an agent plausibly could

    cause an adverse outcome.24 Biological plausibility exists where there is “evidence

    supporting the causal chain” and “depends on the biological knowledge of the

    day.”25 “Plausibility” is not the same as “probability.”2627



    24
      Green, et al., Reference Manual on Scientific Evidence, Reference Guide on
    Epidemiology, at 604-05 (3d Ed. 2011).
    25
      Howick, et al., The evolution of evidence hierarchies: what can Bradford Hill’s
    ‘guidelines for causation’ contribute? J. Royal Soc. Med., 102:186-194, at 187-189
    (2009) (“Howick (2009)”), see attached as Exhibit 3.
    26
         Milward v. Acuity Specialty Prod. Grp., Inc., 639 F.3d 11, 25 (1st Cir. 2011).
    27
      For additional detail on biological plausibility see the PSC’s Memorandum of Law
    in Opposition to Defendants Johnson & Johnson and Johnson & Johnson Consumer,
    Inc.’s Motion to Exclude the PSC’s Experts’ Opinions Related to Biological
    Plausibility and the PSC’s Omnibus Memorandum of Law in Response and
    Opposition to Defendants Johnson & Johnson and Johnson & Johnson Consumer

                                                8
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 13 of 76 PageID: 60275




            It similarly follows that assessing evidence of biological plausibility is not

    synonymous with requiring proof of the causal mechanism.28 “The fact that the

    mechanism remains unclear does not call the reliability of the opinion into

    question.”29 Therefore, experts qualified to opine on biological plausibility need not

    have posited a known biological mechanism, nor do they need to have the same

    qualifications as would be needed to make that assessment.

            Each of the PSC’ experts who offer biological plausibility opinions are

    qualified to do so. Assessing plausibility is within the wheelhouse of experts in

    medicine, epidemiology, pharmacology, biochemistry, microbiology, chemistry,

    pathology, toxicology, and pharmacy. The PSC’s experts are qualified to opine that

    it “makes sense” that Talcum Powder Products “causes the outcome,” ovarian

    cancer, based on “the biological knowledge of the day” based on the perspective of

    their own disciplines and fields of expertise.30




    Inc.’s Motion to Exclude Plaintiffs’ General Causation Opinions both being filed
    simultaneously herewith.
    28
      See Bartoli v. Novartis Pharm. Corp., No. CIV.A. 3:13-0724, 2014 WL 1515870
    (M.D. Pa. Apr. 17, 2014); see also Perry v. Novartis Pharm. Corp., 564 F. Supp. 2d
    452, 463 (E.D. Pa. 2008) (requiring only “good grounds” that a biological
    mechanism existed).
    29
      In re Phenylpropanolamine (PPA) Prod. Liab. Litig., 289 F. Supp. 2d 1230, 1247
    (W.D. Wash. 2003).
    30
         See Hill (1965); accord Howick (2009).


                                               9
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 14 of 76 PageID: 60276




    V.    J&J’S CHALLENGE THAT SEVERAL OF THE PSC’S EXPERTS
          ARE NOT QUALIFIED TO OFFER OPINIONS ABOUT ASBESTOS
          AND OTHER CARCINOGENS CONTAINED IN TALCUM POWDER
          PRODUCTS IS MERITLESS

          J&J also conditionally challenges the qualifications of several of the PSC’s

    experts who offer opinions regarding asbestos and other carcinogenic substances that

    have been found in J&J’s Talcum Powder Products.31 J&J claims that, because the

    PSC’ experts have not tested or examined talcum powder tangibly or through a

    microscope, and because they lack the expertise to do that, they cannot testify to

    their knowledge of asbestos evidence.

          It is important to be clear about the specific opinions being challenged.32

    These experts do nothing more than state that they have seen evidence that asbestos

    and other substances continue to be found in talcum powder. Other expert witnesses

    are being offered to testify about their testing and their findings, as well as their

    opinions about the presence of asbestos and other carcinogens in the Talcum Power

    Products. But the experts challenged here offer no such opinions. Their observations,



    31
      J&J has made this challenge to Sarah Kane, M.D.; Shawn Levy, Ph.D.; Anne
    McTiernan, M.D., Ph.D.; Patricia Moorman, Ph.D., M.S.P.H.; Laura Plunkett,
    Ph.D., D.A.B.T.; Jack Siemiatycki, Ph.D.; Rebecca Smith-Bindman, M.D.; and
    Judith Zelikoff, Ph.D.
    32
       For additional detail, see the PSC’s Memorandum of Law in Opposition to Johnson
    & Johnson and Johnson & Johnson Consumer, Inc.’s Memorandum of Law in
    Support of Motion to Exclude the PSC’s Experts’ Asbestos-Related Opinions which
    is being filed simultaneously herewith and is incorporated herein.


                                             10
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 15 of 76 PageID: 60277




    that they have seen evidence that there is asbestos (and other substances – fibrous

    talc, fragrances, and heavy metals) in the Talcum Powder Products do not require

    that they have themselves examined asbestos (and other substances - fibrous talc,

    fragrances, and heavy metals) as a toxicologist, geologist, or mineralogist might, or

    that they have the expertise themselves to determine the contents of the Talcum

    Powder Products. Instead, the challenged experts report that they have observed this

    evidence only as a predicate or foundation for their further opinions regarding the

    implications of those substances being in the talcum powder; i.e., how does the

    presence of these substances affect their assessment of biological plausibility, and

    whether it strengthens their general causation opinion.

          J&J further confuses the opinions of several experts by suggesting that their

    biological plausibility or causation opinions depend on the presence of asbestos (and

    other substances - fibrous talc, fragrances, and heavy metals) in Talcum Powder

    Products. However, none of these experts opine that cosmetic talc is capable of

    causing ovarian cancer only because it contains with these constituents. These

    experts consistently opine that the evidence of the talcum powder’s composition is

    an element of their review, which adds to their assessment of biological plausibility

    and strengthens their causation opinions between Talcum Powder Products and

    ovarian cancer.




                                             11
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 16 of 76 PageID: 60278




    VI.      EACH OF THE PSC’S EXPERTS IS QUALIFIED TO TESTIFY AS TO
             THEIR EXPERT OPINIONS

             A.     Arch Carson, MD, Ph.D.

             Dr. Carson is a physician who has specialized in the practice of medical

    toxicology since 1991. He is currently an Associate Professor at the University of

    Texas School of Public Health, Department of Epidemiology. He has medical and

    toxicology degrees and is board certified in Occupational Medicine.33

             Dr. Carson’s professional activities have included patient care, basic and

    applied research, instruction of medical students and post-graduate medical trainees,

    and professional consulting. He has been a program director of the NIOSH-funded

    Education and Research Center at the University of Texas for 19 of the last 21 years.

    Dr. Carson has previously been accepted as an expert in the health effects of

    environmental exposures.34

             Dr. Carson is well-qualified to perform a Bradford Hill analysis of the causal

    relationship between talcum powder and ovarian cancer. In this regard, J&J’s’ first

    contention that Dr. Carson is unqualified to rely on, or offer opinions grounded in,

    epidemiology because he is not formally trained in epidemiology is inconsistent with



    33
       Deposition of Arch Carson, MD, Ph.D., Jan. 19, 2019 (“Carson Dep.”) at 239:6-
    8, attached as Exhibit 4; see also Expert Report of Arch Carson, MD, Ph.D, Nov.
    16, 2018 (“Carson Rep.”), Exhibit A (Carson CV), attached as Exhibit 5.
    34
         Carson Dep. at 57:2-14.


                                               12
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 17 of 76 PageID: 60279




    Third Circuit jurisprudence.35 Dr. Carson testified that he can be considered an

    epidemiologist based on his work.36 “I deal a lot with epidemiologic work. I’m a

    faculty member in the Department of Epidemiology …and some may consider me

    an epidemiologist.” He certainly “possess[es] skill or knowledge greater than the

    average layman.”

               J&J argues that Dr. Carson has no relevant background in gynecology,

    oncology, and cell biology, but that is incorrect. As to a woman’s reproductive tract,

    specifically, Dr. Carson testified, “I’ve taken it apart and put it back together

    again.”37 He performs pelvic exams.38 He also has performed OB/Gyn rotations, has

    participated in pelvic surgeries, and has a full understanding of human anatomy.39

               Dr. Carson explained that, he sees patients for workplace-related chemical and

    other exposures.40 “[D]iagnostic investigation” is a routine part of his practice.41

    Specifically regarding oncology, Dr. Carson testified that he frequently has “dealt

    …with issues of oxidative stress and health effects resulting from it.”42 Dr. Carson


    35
         Holbrook, 680 F.3d at 782 (citing Paoli I, 916 F.2d at 856).
    36
         Carson Dep. at 238:23-239:9.
    37
         Id. at 207:16-207:22.
    38
         Id. at 327:6-16.
    39
         Id.
    40
         Id. at 327:8-327:16; 328:5-329:2.
    41
         Id. at 328:17-329:2.
    42
         Id. at 137:14-138:2.


                                                 13
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 18 of 76 PageID: 60280




    has “professional understanding and training” in oxidative stress,43 a known cause

    of DNA mutagenesis and carcinogenesis, which is at issue with talcum powder.

               J&J’s next contention that Dr. Carson admitted that he has no expertise in

    asbestos misstates Dr. Carson’s response.44 Dr. Carson testified that he has “a

    significant amount of awareness and training regarding asbestos.”45 In particular, Dr.

    Carson has had experience with asbestos in the context of occupational and general

    environmental exposures.46 Combined with his medical background and skills and

    experience in diagnostic investigation, Dr. Carson is qualified to draw a causal

    inference between asbestos and disease risk.

               Lastly, J&J’s contention that Dr. Carson’s opinions regarding heavy metals

    rely exclusively on the opinions of other experts is false. Dr. Carson’s analysis relied,

    instead, on his review of the totality of the evidence, including the cohort and case-

    control studies, which have shown statistically significant associations between

    Talcum Powder Products and ovarian cancers.47 Dr. Carson’s review is integrated

    with his unique expertise in toxicology, informing that metals, such as chromium,




    43
         Id.
    44
         See id. at 55:11-55:20.
    45
         Id.
    46
         Id.
    47
         Carson Rep. at 7.


                                               14
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 19 of 76 PageID: 60281




    cobalt, and nickel, as well as fragrances, cause inflammation and add to the

    carcinogenicity of talcum powder.48

               Dr. Carson has the expertise in toxicology to assist the jury to understand the

    potential of carcinogenic heavy metals to be liberated in bodily fluids and tissues.49

    Further, this expertise informs his opinion that carcinogenic fragrance chemicals

    contribute to carcinogenicity in the ovary “because the ovaries have no intrinsic

    elimination system,” these toxins stall and sequester in ovarian tissue.50

               B.      Robert Cook, Ph.D.

               J&J conditionally challenge Dr. Robert Cook’s qualifications by arguing that

    Dr. Cook, a mining engineer and geologist, proffers opinions on mining and ore

    beyond his expertise.51          Specifically, J&J incorrectly identifies the following

    opinions as being outside Dr. Cook’s expertise:

                    • “Talc deposits derived by the alteration of serpentinites
                      contain chrysotile and amphibole species in fibrous
                      asbestiform habits, all of which are known carcinogens;”52

                    • “Fibrous talc occurs in serpentinite-derived talc deposits,
                      possibly by pseudomorphism of early chrysotile or



    48
         Id.
    49
         Id. at 9.
    50
         Id.
    51
         Defs.’ Mem., Qualifications, at 5.
    52
         Id. at 5-6.


                                                   15
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 20 of 76 PageID: 60282




                     amphiboles. Such fibrous talc is not detectable       by
                     standard amphibole asbestos XRD screening…;”53

                  • “Mine development and selective mining are not
                    completely effective in avoiding ore and ore-related
                    rock potentially containing amphiboles,    chrysotile,
                    and elevated amounts of heavy metals and arsenic;”54

                  • “Analytical data indicate that nickel, chromium, and
                    cobalt, known carcinogens, reach finished talc products in
                    amounts above Johnson & Johnson’s (J&J) specified
                    limits.”55

               Dr. Cook is amply qualified to testify on these matters. After earning his

    undergraduate degree in Mining Engineering, Dr. Cook obtained both his M.S. and

    Ph.D. in Geology.56 Dr. Cook was a Professor at Auburn University, where he served

    more than 22 years as head of the Geology Department.57 Presently, Dr. Cook is

    Professor Emeritus at Auburn University, Department of Geosciences.58             He

    currently serves as President of Alabama Resource Management, Inc.59




    53
         Id.
    54
         Id.
    55
         Id.
    56
       Expert Report of Robert B. Cook, Ph.D, Nov. 16, 2018 (“Cook Rep.”) at 2,
    attached as Exhibit 6; Id. at Exhibit A (Cook CV) at 1.
    57
         Id.
    58
         Cook CV at 1.
    59
         Cook Rep. at 2; Cook CV at 1.


                                                16
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 21 of 76 PageID: 60283




               Dr. Cook has held consultant positions for the United Nations, NASA, U.S.

    Department of Justice, and U.S. Department of Defense.60 He has advised

    extensively regarding mining exploration, quarry development, and quality control,

    including sampling.61 Dr. Cook has consulted with mining companies regarding

    mineralogy and mining exploration for talc deposits.62 He has examined amphiboles

    and talc by XRD or x-ray diffraction.63

               Dr. Cook has authored approximately 100 research publications64 and

    produced about 100 abstracts presented to learned societies.65 Among his

    publications, Dr. Cook authored state mineralogy reviews for the States of Georgia

    and Alabama, respectively, including discussion of mineral deposits containing talc,

    asbestos, and heavy metals.66

               Dr. Cook testified that he has experience in scoping studies by which he

    provides “a compilation of all information available on a particular topic….”67 In



    60
         Cook Rep. at 2.
    61
         Id.; Cook CV at 24.
    62
      Deposition of Robert Cook, Ph.D., Jan. 31, 2019 (“Cook Dep.”) at 76:6-76:12
    (emphasis added), attached as Exhibit 7.
    63
         Cook Dep. at 81:8-82:4.
    64
         Id.; Cook CV at 2–14.
    65
         Id.
    66
         Cook Rep. at 2.
    67
         Cook Dep. at 462:4-462:16.


                                               17
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 22 of 76 PageID: 60284




    these instances, Dr. Cook was hired to inform companies whether it is worth their

    time to mine for particular ore in particular areas.68 Similarly, here, Dr. Cook

    reviewed all information available regarding talc deposits and derivatives, and their

    respective locations.69 Comparing scoping to his review here, Dr. Cook testified,

    “[I]t’s exactly what…I did here….it’s the same general intellectual exercise.”70

               Based on Dr. Cook’s experienced review, he was able to establish that “[t]alc

    from Vermont deposits used by J&J for its talcum powder products have elevated

    nickel (Ni), and cobalt (Co) as trace constituents” and that nickel, chromium, and

    cobalt are included in finished talc products.71

               As to selective mining, particularly, Dr. Cook is qualified as evidenced by his

    above background and testimony specific to selective mining.72 Dr. Cook reviewed

    company documents, including core logs and mine photos regarding relevant talc

    mined in this matter.73 Based on his knowledge, experience, and skill, Dr. Cook is




    68
         Id.
    69
         Id.
    70
         Id.
    71
         Cook Rep. at 3.
    72
         Cook Dep. at 486:9-487:14.
    73
         Id. at 487:19-488:7.



                                                  18
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 23 of 76 PageID: 60285




    able to explain to a jury how the documents and photographs are evidence that J&J

    did not engage in selective mining, as proffered.

             C.    Michael Crowley, Ph.D.

             J&J contests Dr. Michael Crowley’s qualifications as to two issues: “(1)

    whether the fragrance chemicals in J&J’s Talcum Powder Products are compliant

    with governmental and industry standards; and (2) whether such alleged chemicals

    can ‘contribute to the inflammatory properties, toxicity, and potential

    carcinogenicity of the products.’”74 J&J’s contention that Dr. Crowley is unqualified

    to testify on these issues is misguided.

             Dr. Crowley has a B.S. degree in chemistry, M.S. in organic chemistry, and a

    Ph.D. in molecular pharmaceutics.75 Presently, Dr. Crowley is president of a

    pharmaceutical development consulting firm, and he has served as consultant to

    more than 50 companies, primarily in the pharmaceutical industry, in the areas of

    proof of concept, formulation and product development, drug delivery, and clinical

    development, including a generation of FDA regulatory submissions.76




    74
         Defs.’ Mem., Qualifications, at 8.
    75
       Expert Report of Michael Crowley, Ph.D, Nov. 12, 2018 (“Crowley Rep.”) at 14,
    attached as Exhibit 8; Deposition of Michael M. Crowley, Ph.D., Jan. 14, 2019
    (“Crowley Dep.”) at 341:20-23, attached as Exhibit 9.
    76
         Crowley Rep. at 14.


                                               19
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 24 of 76 PageID: 60286




               Previously, he worked for a pharmaceutical company that developed novel

    drug products to treat infectious disease, as well as a contract research organization

    that provided formulation and drug product development services.77 He is being

    offered as an expert in chemistry and chemical formulation and has ample

    experience studying, reviewing, and assessing the safety of all types of chemicals,

    including several that are in the J&J talcum powder products family.

               Dr. Crowley has developed many pharmaceutical formulations, nutritional

    supplements, and food products, including over 50 formulations that have been

    tested in human clinical studies.78 Dr. Crowley has created chemical formulas for

    various products including pharmaceuticals and cosmetic products. Examples

    include: a fragrance for use in a prenatal vitamin;79 a cosmetic facial mask;80 and

    pharmaceutical products for vaginal use.81

               Dr. Crowley has authored or co-authored over 15 clinical study protocols,

    over 30 published articles and abstracts, and four book chapters relating to his




    77
         Id.
    78
         Crowley Rep. at 14; Crowley Dep. at 342:1-11.
    79
         Id. at 52:14-23.
    80
         Id. at 52:3-5.
    81
         Id. at 205:1-9.


                                               20
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 25 of 76 PageID: 60287




    work.82 He is an inventor with five United States patents and a number of foreign

    patents.83 He has served as a reviewer for many peer-reviewed journals.84

               J&J first argues incorrectly that Dr. Crowley is unqualified to testify regarding

    J&J’s’ non-compliance because “he is not an expert on FDA regulations.”85

    However, Dr. Crowley is not being offered as an “FDA regulations” expert. Dr.

    Crowley is being offered for his experience and knowledge in the review of safety

    profiles of chemicals for use in consumer products, including cosmetic products.86

    As this pertains to FDA regulations, Dr. Crowley regularly uses and reviews

    regulations to assess the safety of chemicals and is more than competent at

    understanding and applying FDA regulations.87

               J&J also mischaracterizes Dr. Crowley’s methodology concerning J&J’s non-

    compliance, noting that Dr. Crowley’s “stated ‘methodology’ for reaching his

    ultimate conclusion was taking a list of fragrance chemicals…and then ‘plugging’



    82
         Crowley Rep. at 14-15.
    83
         Id. at 15.
    84
         Id.
    85
         Defs.’ Mem., Qualifications at 8.
    86
         Crowley Rep. at 14-15; Crowley Dep. at 341:20-342:11.
    87
      Id. at 58:1-58:2 (“I write submissions to the FDA.”); Id. at 59:10-59:11 (“I’m more
    than competent in understanding regulations.”); Id. at 59:17-60:23 (Dr. Crowley has
    presented to the FDA on new drug applications as part of his consulting work for
    clients.); Id. at 122:21-123:3 (Dr. Crowley is familiar with and uses the FDA risk
    assessment models as part of his work.).


                                                  21
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 26 of 76 PageID: 60288




    the ‘names of the chemicals’ into ‘Google or PubChem to see what [he] could find.”

    This is a methodology issue, not a qualifications issue, and is also inaccurate. Dr.

    Crowley performed an exhaustive review of each fragrance chemical used in the

    J&J’s’ products with reference to numerous regulatory bodies, in vivo and in vitro

    studies, and journals/academic literature.88

             J&J next contests Dr. Crowley’s qualifications regarding the fragrance

    chemicals in talcum powder that can “contribute to the inflammatory properties,

    toxicity, and potential carcinogenicity of the products.”89 J&J specifically argues

    that Dr. Crowley has “never written or published papers on the topics of fragrance

    chemicals or talcum powder or addressing the question of talcum powder and

    purported inflammation or irritation.”90 However, Dr. Crowley’s relevant

    experience, as set forth in detail above, is related to assessing the safety for use in

    cosmetic products, which is what he did in this case.

             More generally, J&J mistakenly asserts that Dr. Crowley does not have “any

    prior experience in perennially-applied cosmetic products or with fragrance

    chemicals, asbestos, ovarian cancer, inflammation or irritation as it relates to talcum




    88
         Crowley Rep. at 64.
    89
         Defs.’ Mem., Qualifications at 8–9.
    90
         Id. at 9.


                                               22
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 27 of 76 PageID: 60289




    powder.”91 Dr. Crowley specifically testified that, when working for Warner-

    Jenkinson, they “made fragrances” and that he has “used fragrances in

    pharmaceutical products.”92 “I have experience working with fragrances…”93 Dr.

    Crowley also testified that he formulated products with talcum powder.94 Further,

    Dr. Crowley testified to his experience in developing multiple vaginal products.95

               D.     Sarah E. Kane, MD

               J&J argues that Dr. Kane’s opinions in epidemiology and asbestos are

    “outside of her field.”96 J&J defines her field (gynecologic pathology) too narrowly.

               Dr. Kane is a certified gynecologic pathologist.97 Dr. Kane’s training in

    pathology included the causes and mechanisms of disease, including gynecologic

    cancer.98 After completing her training, Dr. Kane worked as a staff pathologist and

    Instructor of Pathology at Beth Israel Deaconess Medical Center (BIDMC),99



    91
         Id. at 10.
    92
         Crowley Dep. at 52:14-52:23.
    93
         Id.
    94
         Id. at 65:16-65:22; 66:22-66:24; 70:22-71:17.
    95
         Id. at 205:1-205:9.
    96
         Defs.’ Mem., Qualifications at 11.
    97
      Expert Report of Sarah Kane, MD, Nov. 15, 2018 (“Kane Rep.”) at 2, attached as
    Exhibit 10. Dr. Kane is certified by the American Board of Pathology in Anatomic
    Pathology, Clinical Pathology, and Cytopathology.
    98
         Id.
    99
         Id.


                                               23
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 28 of 76 PageID: 60290




    specializing in gynecologic pathology, perinatal pathology, and cytology.100

    Additionally, she served as BIDMC’s Associate Director of the Cytopathology

    Fellowship Program, while also serving on numerous pathology department

    committees and teaching several medical courses at Harvard Medical School.101

                Dr. Kane currently is a partner with Commonwealth Pathology Partners PC,

    a private practice group, and maintains staff privileges at several Massachusetts

    hospitals.102 Dr. Kane continues to follow the gynecologic pathology literature as a

    routine part of her practice.103

                Dr. Kane testified that causes of ovarian cancer “certainly” “fall[ ] into [her]

    area of expertise” as a gynecological pathologist104 and that she is able to address

    ovarian cancer in terms of anatomic pathology and ovarian cancer pathogenesis.105

    Dr. Kane specifically is able to address the relationship between talcum powder and

    ovarian cancer in terms of plausibility and mechanism—both of which fall within

    the scope of anatomic/gynecologic pathology.106


    100
          Id.
    101
          Id.
    102
          Id.
    103
          Id.
    104
        Deposition of Sarah Kane, MD, Jan. 25, 2019 (“Kane Dep.”) at 204:22-204:25,
    attached as Exhibit 11.
    105
          Id. at 205:1-205:6.
    106
          Id. at 205:1-205:15.


                                                   24
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 29 of 76 PageID: 60291




                J&J’s argument that Dr. Kane is unqualified to offer opinions based on her

    review of the epidemiology studies should be rejected because it is premised on a

    misunderstanding of the central role of epidemiology in the practice of pathology.

    Dr. Kane is knowledgeable as an anatomical and clinical pathologist about

    epidemiology.107 An anatomical pathologist is “trained to look at epi[demiological]

    data[,]”—including study design, strengths, and weaknesses. 108 Dr. Kane routinely

    relies on review and interpretation of epidemiological studies as part of her regular

    clinical practice. She stated in her report that “pathologists must make clinical

    assessments based in part on medical and epidemiologic knowledge about and

    identification of causes, risk factors, clinical sequelae, morphologic and genetic

    features of disease.”109 She also stated that “[i]n order to produce accurate diagnoses,

    pathologists must be knowledgeable about the medical, scientific and epidemiologic

    evidence base.”110 She stated that “[c]oming to a diagnosis requires knowledge of

    the medical, scientific and epidemiologic literature.”111

                J&J’s own pathology expert (Dr. Robert Kurman) knows that pathologists

    routinely deal with epidemiology and has published this point: “Most pathologists


    107
          Id. at 205:7-205:15.
    108
          Id. at 213:15-214:16.
    109
          Kane Rep. at 2.
    110
          Id. at 3.
    111
          Id.


                                                25
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 30 of 76 PageID: 60292




    are part-time epidemiologists as well. The two medical disciplines are more closely

    allied than many people realize.”112 And, Dr. Kurman testified in his deposition that

    you cannot explain cancer pathology and etiology without some understanding and

    explanation of cancer biology and epidemiology. (“Cancer biology and

    epidemiology all come into play.”).113 Indeed, many chapters of Blaustein’s

    gynecologic pathology textbook and relied upon by medical students and physicians,

    refer to and explain the epidemiology behind pathology principles.114

             Prior to this litigation, Dr. Kane’s practice included extensive literature

    reviews, including review regarding talcum powder and ovarian cancer.115 More

    particular to this litigation, Dr. Kane reviewed the epidemiologic literature in-depth

    regarding talcum powder and ovarian cancer from the perspective of a gynecologic

    pathologist and testified that epidemiology review is something pathologists do “on

    a regular basis.”116 Dr. Kane is well-versed in the epidemiological literature

    concerning the association between ovarian cancer and talcum powder use, as well



    112
       Deposition of Robert Kurman, MD, Apr. 2, 2019 (“Kurman Dep.”) at 217:22-
    218:14, citing a chapter Kurman actually edited in Blaustein’s Pathology of the
    Female Genital Tract, 5th ed. (2002), Chapt. 27 entitled “Epidemiology,” attached
    as Exhibit 12.
    113
          Id. at 219:13-18.
    114
          Id. at 125:16-129:24, and 216:1-8.
    115
          Kane Dep. at 217:1-217:12.
    116
          Id. at 213:15-214:6.


                                               26
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 31 of 76 PageID: 60293




    as the non-epidemiologic pathology and biological evidence, citing in her report 186

    sources from the literature.117

             Dr. Kane of course relied on epidemiology studies concerning talcum powder

    and ovarian cancer, as part of her causal assessment, reasoning that this body of

    epidemiologic literature is extremely compelling, showing that the overwhelming

    majority of observational studies (34) over different periods of time in different

    populations that have found a positive association.118

             J&J also challenges Dr. Kane’s testimony regarding asbestos as “outside her

    expertise.”119 As noted in the Introduction, Dr. Kane’s opinions about asbestos do

    not require that she be an asbestos expert. Dr. Kane only proffers that she has seen

    evidence that talcum powder contains or has contained asbestos, and that there are

    biological plausibility implications if talcum powder includes asbestos. Dr. Kane is

    experienced in foreign-body responses, including those involving asbestos.120 She is

    well-informed by the literature, and she has observed foreign body reaction,

    including granulomatous inflammation, “commonly” in her practice.121 As part of


    117
          Id. at 165:13-165:23.
    118
        Id. at 190:15-191:4; 191:10-191:15. (“…a lot the studies looking at talcum
    powder products and ovarian cancer are epidemiological studies, but they’re
    extremely informative in that they are very consistent in their findings.”).
    119
          Defs.’ Mem., Qualifications at 12.
    120
          Kane Dep. at 63:3-63:15.
    121
          Id. at 59:5-59:9.


                                               27
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 32 of 76 PageID: 60294




    her work in this case, her report details that she reviewed multiple scientific

    publications and studies that addressed issues pertinent to assessing the ovarian

    cancer risk posed by asbestos exposure, including human epidemiologic studies.

                J&J also mischaracterizes her testimony as an admission that she is not an

    expert on asbestos issues in any respect.122 J&J improperly conflates Dr. Kane’s

    testimony, that she is not an expert as to the mineral content of talcum powder, as an

    admission that she has no expertise—including no knowledge of the mutagenic,

    carcinogenic, and other foreign-body reactions—concerning asbestos.123

                Dr. Kane is clear that her “general causation opinion is not dependent on

    asbestos being in the product.”124 “[Her] general causation opinion is based on

    whatever is in the bottle.”125 That is primarily because the epidemiological studies

    assessed the risk of ovarian cancer to exposure to the talcum powder the same way:

    without specific focus on what were the “ingredients.”




    122
          Defs.’ Mem., Qualifications at 12.
    123
          Kane Dep. at 321:21-322:3.
    124
          Id. at 227–28.
    125
          Id.


                                                28
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 33 of 76 PageID: 60295




                E.    Mark Krekeler, Ph.D.

                J&J “conditionally” contends that Dr. Mark Krekeler exceeds the scope of his

    expertise by offering opinions on carcinogenicity, mining standards, and regulatory

    processes.126 Dr. Krekeler is qualified as to all proffered testimony.

                Dr. Krekeler has a Ph.D. in Geotechnical Engineering and Earth Science and

    is a tenured Associate Professor in Geology.127 Dr. Krekeler regularly teaches

    courses on ore deposits and mineralogy, including industrial mineralogy.128 His

    curriculum includes the concepts and processes of drilling, core drilling, and

    methods for defining ore.129 Dr. Krekeler has served as a consultant for various

    mining companies, advising regarding procedures and techniques related to mineral

    sampling, 130 and based on his analyses of ore minerals and waste materials.131

                J&J argues that Dr. Krekeler is unqualified because he proffers medical and

    epidemiological testimony on the carcinogenicity of talc, asbestos, and non-

    asbestiform ore. J&J suggests that Dr. Krekeler provides medical inference or



    126
          See Defs.’ Mem., Qualifications at 13.
    127
        Expert Report of Mark Krekeler, Ph.D, Nov. 16, 2018 (“Krekeler Rep.”) at 1,
    attached as Exhibit 13.
    128
          Id.
    129
      Deposition of Mark Krekeler, Ph.D., Jan. 25, 2019 (“Krekeler Dep.”) at 326:17-
    327:6, attached Exhibit 14.
    130
          Krekeler Rep. at 1.
    131
          Id.


                                                 29
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 34 of 76 PageID: 60296




    expertise, instead of reporting facts known to geologists, like Dr. Krekeler, in the

    ordinary course of their work.132

                For example, J&J complains that Dr. Krekeler testified that arsenic and nickel

    are “known human carcinogen[s].”133 And, J&J criticizes Dr. Krekeler’s testimony

    that “[a]cademic and research literature have long-recognized many toxic metals

    commonly found in talc as known or possible carcinogens,”134 suggesting that an

    academic geologist and private sector analyst would not routinely rely on such

    literature. However, they certainly do,135 and J&J’s critiques Dr. Krekeler for using

    reliance materials, generally accepted among geologists and used in routine practice,

    including in Dr. Krekeler’s academic and consulting work.136

                J&J additionally suggest that Dr. Krekeler oversteps his qualifications by

    opining that non-asbestiform cleavage fragments are similar to asbestos and pose the

    same health risks.137 However, J&J misrepresent Dr. Krekeler’s testimony. Dr.

    Krekeler stated, “Notably, non-asbestiform minerals such as large crystals of

    tremolite or anthophyllite could be modified during processing and be turned into



    132
          Defs.’ Mem., Qualifications at 13-14.
    133
          Id. at 14; (accord Krekeler Rep. at 6–7, 33–34.).
    134
          Id. at 6–7.
    135
          Krekeler Dep. at 324:9-324:11; 325:2-325:5 (accord Krekeler Rep. at 2).
    136
          Id.
    137
          See Def. Motion to Exclude Asbestos-Related Opinions, at 93.


                                                  30
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 35 of 76 PageID: 60297




    asbestiform particles with the same health risks as asbestos, due to the size,

    morphology, and chemistry of the modified particles.”138 As a mineralogist, Dr.

    Krekeler’s focus is on geology and mineral formation, and, as a professor, he

    instructs students regarding the risks and benefits of mineral extraction as well use

    of such minerals, which would include assessing whether minerals meet the size and

    shape of regulated mineral fibers, thus causing a health risk. Dr. Krekeler is not

    offering a medical opinion regarding non-asbestiform cleavage fragments, but an

    opinion as a geologist and mineralogist.

             J&J next incorrectly contends that Dr. Krekeler is unqualified to testify

    regarding J&J’s non-compliance regarding mining standards and regulatory

    standards.139 Dr. Krekeler relied on his experience and skill from both the academic

    and private sectors in reviewing corporate documents and corporate deposition

    testimony.140 More specifically, Dr. Krekeler had the ability to analyze and extract

    data, identifying J&J’s flawed mineral screening method in powder x-ray

    diffraction,141 a method in which Dr. Krekeler has extensive knowledge, experience,

    and “expertise.”142 Additionally, Dr. Krekeler’s expertise allowed him to analyze


    138
          Krekeler Rep. at 3–4.
    139
          Id. at 15.
    140
          See id. at 2.
    141
          Krekeler Dep. at 44:22-45:13.
    142
          Id. at 14:15-16:14.


                                               31
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 36 of 76 PageID: 60298




    coring, bulk chemical testing, electron microscopy, and other data. Based on his

    experience, Dr. Krekeler is able to identify how any of these processes were

    performed, and the effectiveness and limitations of such methods.143

             In Dr. Krekeler’s role as a tenured Associate Professor in the Department of

    Geology & Environmental Earth Science, he continuously updates on the regulatory

    standards associated with geology and mineralogy in mining. This knowledge

    includes that of the heavy metals associated with talc ore designated as toxic by

    national and international regulatory bodies.144 He has applied his knowledge of

    these principles as well as mining and sampling techniques as a consultant in the

    field, advising various mining companies specifically regarding procedures and

    techniques related to mineral sampling and waste materials.145 Just as Dr. Krekeler

    has evaluated clients’ compliance and advised on any systemic failures in mining

    processes, he identified within J&J’s internal documents instances of poor quality

    control and review process for sampling that, despite its insufficiency, still revealed

    detectable asbestos.146 Each of these areas of experience qualify him to opine that

    J&J’s sampling and testing for cosmetic grade product were inadequate.147


    143
          Id. at 29:3-29:12.
    144
          Krekeler Rep. at 6-7.
    145
          Id. at 1.
    146
          Id. at 39-40.
    147
          Id. at 39.


                                              32
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 37 of 76 PageID: 60299




             Dr. Krekeler’s expertise will allow him to educate a jury, as he would his

    students, as to procedures and techniques related to mineral sampling, extraction,

    and use, specifically, here, regarding talc, and its derivative constituents.

             Because Dr. Krekeler possesses the knowledge, skill, experience, training, or

    education amounting to “specialized expertise” in the Third Circuit, he is qualified

    to testify in this matter concerning all proffered testimony.

             F.    Shawn Levy, Ph.D

             J&J conditionally challenges Dr. Shawn Levy’s qualifications by arguing that

    Dr. Levy’s biological plausibility opinions “exceed his expertise.”148

             It should be obvious that Dr. Levy is qualified to testify about biological

    plausibility issues. Dr. Levy has two B.S. degrees, in Biochemistry and

    Microbiology, and a Ph.D. in Biochemistry.149 Particularly relevant to his biological

    plausibility qualifications, Dr. Levy’s research has focused on the role of

    inflammation in causing ovarian cancer.150 During his post-doctoral fellowship, Dr.

    Levy developed the first microarray designed to interrogate mitochondrial gene




    148
          Defs.’ Mem., Qualifications at 8.
    149
       Expert Report of Shawn Levy, Ph.D, Nov. 16, 2018 (“Levy Rep.”) at 1, attached
    as Exhibit 15.
    150
       Deposition of Shawn Levy, Ph.D., Jan. 11, 2019 (“Levy Dep.”) at 91:23-91:24;
    92:1-92:7, attached as Exhibit 16.


                                               33
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 38 of 76 PageID: 60300




    function.151 He has held multiple academic appointments, including professorships

    in schools of molecular physiology, biomedical informatics, biological sciences,

    genetics, and epidemiology.152 Presently, Dr. Levy holds professorships in the

    Department of Genetics and Department of Epidemiology at University of

    Alabama—Birmingham and in the Department of Biological Sciences at University

    of Alabama—Huntsville.153 Dr. Levy has served as a reviewer for many scientific

    journals, including Nature Genetics, Science, Cell, and Genome Research.154

    Additionally, he has authored over 140 peer-reviewed publications.155

                Dr. Levy’s laboratories have used high performance genotyping and

    sequencing technologies to support projects, ranging from plant and animal

    phylogenetic studies to translational and clinical based projects.156 Dr. Levy’s work

    has included the use of genome sequencing to “identify genetic markers associated

    with specific health conditions,” including ovarian cancer.157




    151
          Levy Rep., Exhibit A (Levy CV).
    152
          Id.
    153
          Id.
    154
          Id. at 1.
    155
          Levy CV at 1.
    156
          Id.
    157
          Levy Rep. at 1–2.


                                             34
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 39 of 76 PageID: 60301




             Additionally, Dr. Levy currently is associated with the Vanderbilt Cancer

    Center and University of Alabama at Birmingham’s Comprehensive Cancer Center,

    where he is involved in many of their research projects, including those involving

    ovarian cancer.158 He additionally leads the largest genetic profiling effort for adult

    cancer in the nation, which includes the involvement of 15 national cancer institutes

    and ovarian cancer as a component of research.159

             J&J’s suggestion that Dr. Levy only was retained to describe the role of

    genetics is false. Dr. Levy’s testimony is also being offered “to assess whether

    perineal use of talcum powder products induces biologically plausible mechanism

    or mechanisms that results in ovarian cancer.”160 Dr. Levy’s research has included

    the examination of mechanistic effects of cancer, including ovarian cancer.161 As

    such, his review of biological plausibility in this case “was a similar review” to his

    past research,162 and the biological plausibility mechanisms for ovarian cancer

    certainly are well within his expertise.

             J&J suggests that Dr. Levy’s singular published article concerning ovarian

    cancer limits his expertise, yet they disregard his past and ongoing cancer research,


    158
          Levy Dep. at 91:4-91:9.
    159
          Id. at 99:1-99:7.
    160
          Levy Rep. at 2.
    161
          Levy Dep. at 95:21-96:4.
    162
          Id. at 96:2-96:6.


                                               35
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 40 of 76 PageID: 60302




    as noted above, which includes ovarian cancer, as well as past assignments with the

    U.S. Department of Defense, studying ovarian and breast cancer and reviewing

    ovarian cancer grants, specifically.163 Dr. Levy has been, and presently is, involved

    in research about ovarian cancer.164

             J&J next argues, with no support, that Dr. Levy has no experience with talc.165

    Dr. Levy’s opinion on the amplification effect of talc, fibrous talc, asbestos, heavy

    metals and fragrances is based on cell biology, of which Dr. Levy is the expert: Dr.

    Levy testified that the more biologically active compounds present, the more likely

    a biological mechanism is present.166

             Further, in terms of other mechanisms by which talcum powder could cause

    ovarian cancer, Dr. Levy testified: “[M]y research has included the role of

    inflammation and a number of biological processes,” which “include …ovarian

    cancer.”167 Prior to this litigation, Dr. Levy reviewed some of the literature

    concerning talcum powder and ovarian cancer, and, since, has completed a more in-

    depth review, including the epidemiologic literature.168



    163
          Id. at 90:20-91:9.
    164
          Levy Rep. at 1–2; Levy Dep. at 91:4-91:9.
    165
          See Defs.’ Mem., Qualifications at 16.
    166
          Levy Dep. at 235:9-16.
    167
          Id. at 91:23-92:7.
    168
          Id. at 96:7-96:21; 91:23-92:7.


                                                36
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 41 of 76 PageID: 60303




             Dr. Levy’s expertise in this litigation will assist the jury in understanding

    biological plausibility based on Dr. Levy’s knowledge of cancer mechanisms and

    genetics.169

             G.    Anne McTiernan, MD, Ph.D.

             J&J contests Dr. Anne McTiernan’s qualifications by arguing that Dr.

    McTiernan is lacking sufficient publications and that her opinions were developed

    after she was retained by the PSC’ counsel. J&J further argues that her opinions are

    outside her expertise regarding: (1) biological plausibility; and (2) talcum powder

    contaminants.

             Dr. McTiernan is well-qualified as to all proffered testimony. She is a cancer

    prevention researcher and a Member in the Program in Epidemiology at the Fred

    Hutchinson Cancer Research Center, where she previously has served as a director

    in the Prevention Center.170 She is also a professor in the departments of medicine

    and epidemiology at the University of Washington.

             Dr. McTiernan has a Ph.D. in Epidemiology and a medical degree in internal

    medicine. For the past 25 years, she has focused on epidemiologic research,

    primarily in cancer and women’s health. She has published over 400 scientific



    169
          Levy Rep. at 2.
    170
       Expert Report of Anne McTiernan, MD, Ph.D, Nov. 16, 2018 (“McTiernan
    Rep.”) at 3, attached as Exhibit 17.


                                               37
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 42 of 76 PageID: 60304




    articles in peer-reviewed journals,171 including publications on gynecologic cancers,

    including ovarian cancer. In addition to leadership and research positions she has

    held with the federal government (HHS, DOD, NIH and NCI), Dr. McTiernan’s

    work includes research for the International Association for Research in Cancer

    (IARC) and the World Cancer Fund.172

             In this matter, Dr. McTiernan was asked to address the question of whether

    perineal Talcum Powder Products use can cause ovarian cancer.173 She conducted a

    systematic review and causation analysis of the association between genital use of

    Talcum Powder Products and the risk of developing epithelial ovarian cancer.174

             J&J argues to exclude the testimony of Dr. McTiernan on grounds that she

    “has not published any articles on the causes of ovarian cancer” and that her opinion

    that talcum powder use causes ovarian cancer only occurred after she was retained

    as an expert.175 Neither of these, even if true, are necessary under the Third Circuit

    standards. However, J&J has mischaracterized Dr. McTiernan’s experience and

    qualifications on these two points. First, Dr. McTiernan has published several




    171
          Id. at 3.
    172
          Id. at 4.
    173
          Id. at 9.
    174
          Id. at 7.
    175
          Defs.’ Mem., Qualifications at 17.


                                               38
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 43 of 76 PageID: 60305




    manuscripts on gynecologic cancer, including ovarian cancer.176 J&J also disregards

    Dr. McTiernan’s work in one of the only three cohort studies significant to this

    litigation. Long before Dr. McTiernan was retained, she served as Project Director

    at the Women’s Health Initiative (WHI). In this role, Dr. McTiernan oversaw

    development of the protocol and procedures for ascertainment and adjudication of

    cancer outcomes, including ovarian cancer.177

             Second, Dr. McTiernan reached her opinion that perineal use of Talcum

    Power Products can cause ovarian cancer “after [she] conducted a full systematic

    review of the epidemiology data and mechanistic data, including biologic evidence,

    and then […] a causal analysis.”178 This litigation was also not Dr. McTiernan’s first

    exposure to the existing literature regarding Talcum Powder Products and ovarian

    cancer, as she was familiar with the articles prior to her involvement.179

             On this point, Dr. McTiernan has conducted extensive work, contributing to

    public knowledge about the potential health hazards of talcum powder. She recently

    presented testimony on this subject to the Congressional Subcommittee examining




    176
        Deposition of Anne McTiernan, MD, Ph.D., Jan. 28, 2019 (“McTiernan Dep.”)
    at 61:22-62:5, attached as Exhibit 18.
    177
          McTiernan Rep. at 5-6.
    178
          McTiernan Dep. at 45:22-46:5.
    179
          Id. at 61:12-21.


                                              39
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 44 of 76 PageID: 60306




    “Public Health Risk on Carcinogens and Consumer Products,”180 specifically

    testifying as to her epidemiologic expertise in women’s cancers, including the

    science on Talcum Powder Products and ovarian cancer.181 Dr. McTiernan shared

    these same opinions with Health Canada, who also sought her input on this

    question.182

             Significantly, J&J consistently misrepresents Dr. McTiernan’s opinions and

    testimony. Throughout their briefing, J&J seeks to discredit Dr. McTiernan’s

    causality opinions, as well as the body of scientific literature. In doing so, they

    mischaracterize a report to which Dr. McTiernan contributed concerning diet,

    exercise, and nutrition. This characterization recasts what is, in reality, a narrow and

    limited-purpose report as a comprehensive overview of known risk factors for

    ovarian cancer.183




    180
        Testimony of Anne McTiernan, House of Representatives Subcommittee on
    Economic and Consumer Policy (March 12, 2019) (“Congressional Statement”),
    attached as Exhibit 19.
    181
       Having assessed and analyzed the totality of the scientific studies conducted over
    40 years, she testified that women who use Talcum Powder Products have a
    statistically significant (22% to 31%) increased risk of developing epithelial ovarian
    cancer.
    182
        In her comments to Health Canada, Dr. McTiernan opined that the conclusions
    independently reached by Health Canada agree with her own. Draft Safety
    Assessment–Talc Public Comment to Health Canada of Anne McTiernan (February
    9, 2019), attached as Exhibit 20.
    183
          Affidavit of Anne McTiernan (May 28, 2019), attached as Exhibit 21.


                                              40
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 45 of 76 PageID: 60307




             J&J also seeks to limit Dr. McTiernan’s testimony as beyond the bounds of

    her expertise. First, J&J claim that Dr. McTiernan “has no relevant qualifications”

    that would allow her to speak to biological plausibility in this matter.184 Dr.

    McTiernan is a trained physician. J&J may argue the weight of this experience at

    trial but claiming that she has “no relevant qualifications” on this issue is ridiculous.

    Further, Dr. McTiernan will not offer testimony that only could be provided by a

    gynecologist, oncologist, pathologist, or cancer biologist. She has conducted an

    analysis befitting an expert epidemiologist and physician, focusing on assessing the

    body of epidemiologic literature.

             J&J further argues that Dr. McTiernan is unqualified to opine that “cosmetic

    talc is capable of causing ovarian cancer because it is contaminated with asbestos,

    fibrous talc, fragrances and heavy metals such as chromium, nickel and cobalt.”185

    Dr. McTiernan does not offer her opinions as an expert in asbestos, and her causal

    analysis is not dependent on the presence of asbestos in talcum powder. Dr.

    McTiernan included asbestos in her analysis because she “would often see the

    potential for asbestos being included in Talcum Powder Products, so [she] wanted

    to include that as one possible mechanism, especially given that asbestos is a known

    carcinogen,” but her causal analysis was only done in regards to Talcum Powder


    184
          Defs.’ Mem., Qualifications at 18.
    185
          Id. at 18-19.


                                               41
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 46 of 76 PageID: 60308




    Products as a whole.186 The PSC response is also addressed in the above section on

    asbestos and other contaminants.

             H.       Patricia Moorman, Ph.D., MSPH

             J&J contests Dr. Patricia Moorman’s qualifications by arguing that Dr.

    Moorman’s opinions exceed her expertise as to two primary issues: (1) biological

    plausibility; and (2) the presence of asbestos, heavy metals, and fragrances in talcum

    powder.187 Dr. Moorman is qualified as to all proffered testimony.

             Dr. Moorman is a tenured professor at Duke University School of Medicine,

    and she participates in the Cancer Control and Population Sciences Program at Duke

    Cancer Institute, where she serves as Director of Clinical Research.188 She has an

    undergraduate degree in pharmacy, graduate degrees in epidemiological studies and

    public health.189 She has experience as a Research Scientist at Yale University,

    School of Public Health.

             For more than 25 years, Dr. Moorman has conducted epidemiological

    research, publishing on women’s health issues, including ovarian cancer and ovarian




    186
          McTiernan Dep. at 269:9-270:1.
    187
          See Defs.’ Mem., Qualifications at 20.
    188
      Expert Report of Patricia Moorman, MSPH, Ph.D., Nov. 6, 2018 (“Moorman
    Rep.”) at 3-4, attached as Exhibit 22.
    189
          Id. at 3.


                                               42
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 47 of 76 PageID: 60309




    function.190 Among these studies, Dr. Moorman has published case-control studies

    concerning ovarian cancer and a cohort study designed to examine ovarian failure.191

    In 2016 (prior to her involvement in this litigation), Dr. Moorman’s study team

    published a peer-reviewed paper, analyzing the relationship between talcum powder

    exposure and ovarian cancer.192 Dr. Moorman authored over 130 publications, more

    than 50 of which relate directly to ovarian cancer.193

             Dr. Moorman’s extensive background in epidemiology and women’s health

    issues, including ovarian cancer, make her more than qualified to offer a biological

    plausibility opinion. One of the nine factors set forth by Bradford Hill is biological

    plausibility, so naturally, she assessed it. Dr. Moorman testified that she incorporates

    the Bradford Hill methodology, including “biological plausibility” “into essentially

    every paper that [she] write[s].”194

             J&J’s argument that Dr. Moorman is neither a cancer biologist nor a toxicity

    studies expert does not undermine Dr. Moorman’s extensive experience in ovarian


    190
          Id. at 3–4.
    191
          Id. at 4.
    192
          Id. at 5.
    193
       Id. Additionally, prior to her 2016 peer-reviewed publication, Dr. Moorman
    participated as an investigator on the North Carolina Ovarian Cancer Study.
    Presently and since 2016, Dr. Moorman is an investigator for the Ovarian Cancer in
    Women of African Ancestry (OWCAA) consortium.
    194
      Deposition of Patricia G. Moorman, M.S.P.H., Ph.D. (Mar. 12, 2018) (“Moorman
    Dep. 2”) at 358:16-25, attached as Exhibit 23.


                                              43
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 48 of 76 PageID: 60310




    cancer research, spanning more than 25 years and producing more than 50 studies

    reviewing ovarian cancer, including its causes.195

             Dr. Moorman is particularly qualified to offer opinions on biological

    plausibility because she also has addressed biological plausibility issues in her peer-

    reviewed, published articles. Dr. Moorman’s 2016 published peer-reviewed paper

    specifically refers to inflammation as a potential mechanism by which talcum

    powder can cause ovarian cancer,196 and addressed biological plausibility: “talc-

    containing powders may promote cancer development through local inflammation,

    increased rates of cell division and DNA repair[,] increased oxidative stress and

    increased cytokine levels.”197

             J&J mischaracterizes Dr. Moorman’s testimony regarding the thoroughness

    of her literature review. She testified that she, “tried” and read every article on

    migration of which she was aware, but that she “cannot say with 100 percent

    certainty that [she] identified every single study related to migration.”198 That should

    be more than sufficient to assess biological plausibility.


    195
          Moorman Rep. at 3–5.
    196
          Moorman Dep. 2 at 239:8-240:2.
    197
       Id.; see also J.M. Schildkraut, et al., Cancer, Epidemiology, Biomarkers, &
    Prevention, Association Between Body Powder Use and Ovarian Cancer
    Epidemiology Study (AACES), 25(10), 1411 (Oct. 2016), attached as Exhibit 24.
    198
      Deposition of Patricia G. Moorman, M.S.P.H., Ph.D. (Jan. 25, 2019) (“Moorman
    Dep. 1”) at 58:25-59:16, attached at Exhibit 25.


                                              44
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 49 of 76 PageID: 60311




             J&J’s next challenge to Dr. Moorman’s qualification regards the existence of

    evidence addressing the presence of asbestos, heavy metals, and fragrances in talcum

    powder.199 Dr. Moorman is experienced in the review of documents, including those

    outside the literature.200 She specifically testified, “… the gist of my opinions are

    based on talcum powder products and whatever constituents are in there; so, talc,

    asbestos, any fragrances or other contaminants that may be in there. So its based on

    the product.”201 To that, she only adds that the presence of asbestos, (and other

    contaminants) in talc would “contribute” further to biological plausibility, “that this

    is another potential constituent of the talcum powder product that could contribute

    to ovarian cancer risk.”202 This testimony is clearly within the scope of her expertise

    as an epidemiologist.

             The PSC’s response is addressed further above in the general section on

    asbestos and other contaminants.




    199
          Defs.’ Mem., Qualifications at 20.
    200
        Moorman Dep. 1 at 126:22-127:16. For instance, Dr. Moorman testified to
    conducting a systemic review by which she examined company documents for
    relevance in analyzing the plausible relationship between oral contraception and
    cancer risk.
    201
          Id. at 119:21-25.
    202
          Id. at 117:7-14.


                                               45
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 50 of 76 PageID: 60312




             I.         Laura Plunkett, Ph.D., DABT

             J&J contests Dr. Laura Plunkett’s qualifications by questioning her expertise

    in toxicology and arguing that her opinions concerning biological plausibility and

    talc contamination are beyond the scope of her expertise.203 Dr. Plunkett is well-

    qualified as to all proffered testimony and specifically to opine “that the weight-of-

    the-evidence indicates that genital exposure to talcum powder products increases the

    risk of ovarian cancer in women.”204

             Laura M. Plunkett, Ph.D., DABT has advanced training as a pharmacologist

    and toxicologist and through that training has unique expertise in pharmacokinetics.

    She received her Ph.D. in Pharmacology and is Board Certified in Toxicology

    (1993–present).205 Dr. Plunkett has worked as an industry consultant and regulatory

    expert for approximately 30 years, including as a consultant to pharmaceutical

    companies in the areas of pharmacology, toxicology, human health risk assessment,

    and regulatory strategy and FDA regulatory compliance.206 Dr. Plunkett also




    203
          See Defs.’ Mem., Qualifications at 23.
    204
       Expert Report of Laura Plunkett, Ph.D., DABT, Nov. 16, 2018 (“Plunkett Rep.”)
    at 77, attached as Exhibit 26.
    205
          Plunkett Rep., Exhibit A (Plunkett CV) at 3.
    206
          Id. at 1-2.


                                               46
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 51 of 76 PageID: 60313




    reviewed and assessed the safety of talc as used in condoms, which are regulated as

    medical devices.207

             Despite J&J’s claim, Dr. Plunkett does not just “purport[] to be a

    toxicologist,”208 she is one. Dr. Plunkett has been board certified as a Diplomate of

    the American Board of Toxicology since 1993.209 To do so, Dr. Plunkett had to

    complete a comprehensive certification examination on principles of toxicology and

    has had to undergo recertification every five years.210 According to the National

    Institute of Environmental Health Sciences, “[t]his means that the person has passed

    several tests and is certified by one of the world’s largest organizations in general

    toxicology, the American Board of Toxicology (ABT).”211 Dr. Plunkett is a member

    of the Society of Toxicology and the American College of Toxicology.212 She has

    written dozens of peer-reviewed articles and book chapters and presented at

    numerous conferences and seminars on issues related to pharmacology, toxicology,




    207
          Plunkett Rep. at 5.
    208
          Defs.’ Mem., Qualifications at 23.
    209
          Plunkett CV at 3.
    210
         See, American Board of Toxicology, https://www.abtox.org/about-abt/,
    https://www.abtox.org/candidates/overview/.
    211
           See,  National     Institute   of    Environmental     Health       Sciences,
    https://www.niehs.nih.gov/health/topics/science/toxicology/index.cfm.
    212
          Plunkett CV at 3.


                                               47
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 52 of 76 PageID: 60314




    and pharmacokinetics.213 These articles include animal (preclinical), human, and in

    vitro studies. In addition to her research and publications, Dr. Plunkett was an

    Assistant Professor of Pharmacology and Toxicology from 1986–1989.214

                Similarly, J&J takes an unsupported jab at her professional background by

    characterizing Dr. Plunkett as a “litigation pharmacologist,”215 without challenging

    her qualifications as a pharmacologist and despite the decades Dr. Plunkett has spent

    working in the field.216

                J&J claims that Dr. Plunkett should be precluded from testifying about

    biological plausibility in part because she “ma[de] clear at her deposition that she is

    ‘not doing general causation in the MDL.’”217 This does not accurately reflect her

    testimony. Dr. Plunkett testified that her role in this litigation is to provide a risk

    assessment, which is different from a general causation analysis.218 However, “the

    types of information that are considered may overlap between those two […].”219As

    part of this risk assessment, Dr. Plunkett provides “opinions on certain aspects of the


    213
          Id. at 4-15.
    214
          Id. at 2.
    215
          Defs.’ Mem., Qualifications at 23.
    216
          Plunkett Rep. at 3-4.
    217
          Defs.’ Mem., Qualifications at 23.
    218
       Deposition of Laura Plunkett, Ph.D., DABT (Dec. 19, 2018) (“Plunkett Dep.”) at
    35:3-37:19, attached as Exhibit 27.
    219
          Id.


                                                48
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 53 of 76 PageID: 60315




    cause and effect relationship,” including biologic plausibility and “underlying

    knowledge about different toxicities of the compounds.”220

             J&J next argues that Dr. Plunkett’s biological plausibility analysis is

    “divorced” from the expertise she described at her deposition.221 Dr. Plunkett is

    qualified as a pharmacologist and toxicologist to explore biologic plausibility. Dr.

    Plunkett explained that she needs “to understand whether there's a biologic

    mechanism that makes sense[]” and whether “exposure could lead to this

    response.”222 Dr. Plunkett’s “typical[]” process is to analyze data according to the

    Bradford Hill considerations.223

             J&J also seek to exclude Dr. Plunkett’s testimony on biological plausibility

    and the presence of contaminants based on her lack of publications on these topics.224

    J&J cites no caselaw that publication on a particular topic is a prerequisite for an

    expert to be qualified to testify about that topic.




    220
          Plunkett Dep. at 33:19-34:9.
    221
          Defs.’ Mem., Qualifications at 24.
    222
          Plunkett Dep. at 195:15-20.
    223
          Id. at 35:3-37:19.
    224
          Defs.’ Mem., Qualifications at 23.


                                               49
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 54 of 76 PageID: 60316




                J.    Ghassan Saed, Ph.D.

                Dr. Saed is an Associate Professor with tenure at Wayne State University

    where he is the Director of Ovarian Cancer Research.225 He is a faculty member in

    the Departments of Obstetrics & Gynecology, Cell Biology, and Anatomy &

    Physiology at Wayne State School of Medicine, and is a Member of the Karmanos

    Cancer Institute, Molecular Biology and Genetics Program.226 As the Director of

    Ovarian Cancer Research, Dr. Saed’s laboratory investigates the role of oxidative

    stress in the pathogenesis of ovarian cancer. His research in ovarian cancer has

    resulted in the identification of biomarkers for assessing the progression and

    metastasis of ovarian cancer.227

                Dr. Saed has been the recipient of national and international grants and

    contracts from prestigious organizations and has been a prolific publisher and

    presenter at scientific meetings. He has been an author on more than 130 original

    studies published in peer-reviewed journals in addition to writing review articles and

    book chapters.228 Dr. Saed recently published a review article in the journal

    Gynecologic Oncology titled “Updates of the role of oxidative stress in the


    225
        See Expert Report of Dr. Ghassan Saed, Nov. 16, 2018 (“Saed Rep.”), at 2,
    attached as Exhibit 28.
    226
          Id.
    227
          Id.
    228
          Id. at 3.


                                               50
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 55 of 76 PageID: 60317




    pathogenesis of ovarian cancer.”229 In addition, his recent research related to talcum

    powder products, inflammation and oxidative stress has been peer-reviewed and

    accepted for publication in Reproductive Sciences.230 As Dr. Saed has stated, this is

    what he has done “for the last 30 years, ovarian cancer, oxidative stress, and

    inflammation.”231 Dr. Saed’s “specialty is anything that induces inflammation and

    oxidative stress that is linked to ovarian cancer.”232

                J&J challenges the qualifications of Dr. Saed to opine on talcum powder and

    ovarian cancer because he is not “a physician [or an] OB-GYN oncologist” and can’t

    diagnose or determine the cause of ovarian cancer.233 However, Dr. Saed is not

    offering opinions on the diagnosis. As reflected above, in his curriculum vitae, and

    his publication record, Dr. Saed is an established translational researcher, and his

    research interest currently focuses on the identification of biomarkers for the early

    detection of ovarian cancer, and the characterization of novel therapeutic targets for

    the treatment of ovarian cancer. Dr. Saed and his staff would be expected to and do


    229
          Id.
    230
       N.M. Fletcher, et al., Reproductive Sciences, Molecular Basis Supporting the
    Association of Talcum Powder Use with Increased Risk of Ovarian Cancer, 20(10),
    1–11 (2019).
    231
        See Deposition of Ghassan Saed, Ph.D., Jan. 23, 2019 (“Saed Dep.”) at 27:4-6,
    attached as Exhibit 29.
    232
        Id. at 27:10-11; 30:11-13 (“anything that causes inflammation, redox imbalance,
    is linked to increased risk of ovarian cancer. This is the core of my work.”).
    233
          See Defs.’ Mem., Qualifications at 24.


                                                 51
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 56 of 76 PageID: 60318




    have the expertise and experience to conduct the experiments that form the basis of

    his talcum powder research and opinions offered in this case.

          J&J’s further argument that Dr. Saed is not qualified to offer his opinions

    because he has never examined the effect of particulate exposure on cells in vitro is

    a red herring. The tests that were used during Dr. Saed’s experiments are broadly

    used and scientifically acceptable. They have been used by Dr. Saed in his lab for

    decades and he has authored and published more than 130 studies in peer reviewed

    journals based upon his work. As addressed in further detail in The PSC’s

    Memorandum of Law in Opposition to Defendant Johnson & Johnson and Johnson

    & Johnson Consumer Inc.’s Motion to Exclude Expert Opinions of Ghassan Saed,

    which arguments are adopted herein by reference, Dr. Saed used proper control

    methods and did not have any methodological shortcomings. The quality of work

    performed by Dr. Saed is bolstered by the fact that his work has been the subject of

    four abstracts, published in peer-reviewed scientific journals, and presented at

    prestigious medical conferences. All of the aforementioned required peer review of

    his methodology by multiple experts in the field.

          Lastly, contrary to J&J’s assertion, Dr. Saed does not express opinions on

    epidemiology studies. Instead, as noted at is deposition, Dr. Saed reviewed and relies

    upon all forms of studies in forming opinions and in guiding his work. “I always




                                             52
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 57 of 76 PageID: 60319




    review literature, this is my job, that’s what I do for a living, I review literature every

    single day.”234

             K.    Jack Siemiatycki, Ph.D.

             J&J contests Dr. Jack Siemiatycki’s qualifications by arguing that his opinions

    on biological plausibility and the presence of contaminants in Talcum Powder

    Products are beyond the scope of his expertise.235 Dr. Siemiatycki is well-qualified

    as to all proffered general causation testimony, including biological plausibility.

    Also, when his actual opinions about talcum powder constituents are understood, it

    will be clear that he is qualified to offer those opinions too.

             Dr. Siemiatycki is qualified to offer all general causation opinions. He is a

    tenured Professor of epidemiology at the University of Montreal and Adjunct

    Professor of epidemiology at McGill University.236 He holds the Guzzo-Cancer

    Research Society Chair in Environment and Cancer and is an elected fellow of the

    Canadian Academy of Health Sciences. In recognition of his exemplary work in

    epidemiology and statistics he was awarded a lifetime achievement award by the

    Canadian Society for Epidemiology and Biostatistics. He has been invited to serve

    on over 160 Boards, scientific councils, and expert panels for a host of governments,


    234
          Saed Dep. at 32:18-20.
    235
          See Defs.’ Mem., Qualifications at 26.
    236
      Expert Report of Jack Siemiatycki, MSc, Ph.D, Nov. 16, 2018 (“Siemiatycki
    Rep.”), Exhibit A (Siemiatycki CV), attached as Exhibit 30.


                                                53
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 58 of 76 PageID: 60320




    universities, and research agencies (Canadian and American NCI). His leadership

    positions include the presidency of the Canadian Society for Epidemiology and

    Biostatistics and the Board of the American College of Epidemiology.237

             Dr. Siemiatycki has devoted most of his research career to investigating links

    between environmental, occupational and lifestyle factors and various types of

    cancer. This “research has been both substantive – namely, looking at particular

    factors and their possible relationship to particular cancers – and methodological –

    namely, exploring how to evaluate and enhance the validity of epidemiologic

    research through various prisms: study design, data collection methods and

    statistical analysis.”238 In addition to serving as a reviewer for approximately 20

    journals, he has served as the associate editor of the American Journal of

    Epidemiology and the International Journal of Environmental Health.

             Dr. Siemiatycki’s long-standing association with the International Agency for

    Research on Cancer (IARC) began in 1977. He has since served as a member and

    elected chairman of its Scientific Council. Prior to his retention in this litigation, he

    chaired the 2006 IARC Monograph panel evaluation of the relative carcinogenicity

    of carbon black, titanium dioxide, and non-asbestiform talc.239 Having considered



    237
          Siemiatycki Rep. at 1-2
    238
          Id. at 1.
    239
          Id. at 3, 23-24.


                                               54
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 59 of 76 PageID: 60321




    data provided through 2006, this panel classified Talc as a 2B possible carcinogen.

    Subsequent to the IARC meeting, and prior to his retention as an expert, Dr.

    Siemiatycki co-conducted and published a meta-analysis of studies on talcum

    powder products and ovarian cancer available to the IARC Working Group in

    2007.240 He has published more than 250 peer-reviewed articles.

             Dr. Siemiatycki reviewed all available, relevant scientific evidence to

    formulate his general causation opinions.241 He systematically selected and assessed

    all epidemiological published studies, meta-analyses, experimental toxicology,

    molecular biology, mechanistic studies, and the IARC Monograph. His expert

    judgment was based on assessing and weighing the totality of the data.242

             J&J does not argue that Dr. Siemiatycki is not qualified to opine on biological

    plausibility or contaminants in talcum powder products so much as they claim

    (incorrectly) that he admits to not being qualified to offer those opinions.243 While

    he may not be qualified to determine the “most likely mechanism by which talc could

    cause ovarian cancer,”244 Dr. Siemiatycki testified that he can evaluate potential


    240
       See Langseth, H., S. E. Hankinson, J. Siemiatycki and E. Weiderpass (2008),
    Perineal use of talc and risk of ovarian cancer. Journal of Epidemiology &
    Community Health 62(4): 358-360, attached as Exhibit 31.
    241
          Siemiatycki Rep. at 1.
    242
          Id. at 4-5, 18-22.
    243
          See Defs.’ Mem., Qualifications at 26.
    244
          See id.


                                                55
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 60 of 76 PageID: 60322




    biologically plausible mechanisms “on the basis of [his] reading of literature

    concerning that issue.”245 Dr. Siemiatycki is well-qualified as an epidemiologist to

    evaluate the literature to form an assessment of biological plausibility. In

    formulating his opinions, Dr. Siemiatycki “employed the same scientific

    methodology and rigor that [he uses] in [his] research, in [his] publications, and in

    the consulting and advising that [he carries] out on behalf of governments, public

    health agencies, and research institutes.”246 The PSC’ have addressed this further

    above in the general section on biological plausibility.

             J&J further argues that Dr. Siemiatycki is unqualified to opine “whether there

    ‘are in fact contaminants like asbestos or heavy metals in Johnson & Johnson’s

    talcum powder products’” because he admits to not being “an expert in the

    composition of talc.”247 The PSC’s response is addressed above in the general

    section on asbestos and other contaminants.248



    245
       Deposition of Jack Siemiatycki, MSc, Ph.D., Jan. 31, 2019 (“Siemiatycki Dep.”)
    at 331:10-19, attached as Exhibit 32.
    246
          Siemiatycki Rep. at 4-5.
    247
          See Defs.’ Mem., Qualifications at 26.
    248
        Furthermore, his causal analysis is not dependent upon the presence of
    contaminants in Talcum Powder Products. Dr. Siemiatycki does not opine that
    cosmetic talc is capable of causing ovarian cancer only because it is contaminated.
    He testified that he reviewed the information he was provided in the fields of
    toxicology, talc composition and biological mechanism, took note of the types of
    evidence that are available in those domains, and used them in considering biological
    plausibility. Siemiatycki Dep. at 75:6-22. “Those areas of evidence did not in any

                                               56
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 61 of 76 PageID: 60323




             L.        Sonal Singh, MD, MPH

             J&J contests Dr. Sonal Singh’s qualifications by arguing that he “has no prior

    experience investigating the relationship between talc and ovarian cancer and has

    never published on the issue.”249 They further posit that his opinions on biological

    mechanisms and asbestos in talcum powder products are beyond the scope of his

    expertise.250 Dr. Singh is well-qualified as to all proffered testimony.

             Specifically, Dr. Singh opines, after his systematic review of the literature,

    that there is a statistically significant increased risk of ovarian cancer with talcum

    powder products and that there is strong evidence that talcum powder products can

    reach the fallopian tubes and ovaries and can induce ovarian cancer through

    established mechanisms.251

             Dr. Singh is an Associate Professor at the Meyers Primary Care Institute, with

    a joint appointment at the University of Massachusetts Medical School,

    Massachusetts.252 He has lengthy academic credentials, serving as an Assistant

    Professor of Medicine at Wake Forest University, before receiving a joint



    way influence [his] opinions about the strength and consistency […] of the
    epidemiological evidence.” Id.
    249
          Id. at 28.
    250
          See Defs.’ Mem., Qualifications at 28-30.
    251
        Expert Report of Sonal Singh, MD, MPH, Nov. 16, 2018 (“Singh Rep.”) at 19,
    attached as Exhibit 33.
    252
          See generally Singh Rep., Exhibit A (Singh CV); Singh Rep. at 3-5.


                                               57
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 62 of 76 PageID: 60324




    appointment as an Assistant Professor of Epidemiology. He was an Assistant

    Professor at Johns Hopkins University as a recipient of the NIH Johns Hopkins

    Clinical Research Scholars Award in 2009.253

          Dr. Singh has served as an advisor to the World Bank, World Health

    Organization (WHO), International Agency for Research on Cancer (IARC) and

    various pharmaceutical firms. He was part of a WHO-IARC panel which evaluated

    the carcinogenicity of various drugs and herbal products.254

          He is the recipient of numerous awards including the prestigious Johns

    Hopkins Clinical Research Scholars Award and the Tinsley R. Harrison Master

    Teachers Award. He also serves as a peer reviewer for more than 50 journals and

    serves on multiple editorial boards. Dr. Singh has conducted several epidemiological

    studies, systematic reviews and meta-analysis featured in prominent medical

    journals. He has authored or co-authored more than 100 original peer-reviewed

    scientific articles, and his work has been cited more than 13,000 times.

          Dr. Singh was asked to review the scientific evidence and analyze the

    epidemiological data and, based on these data and other relevant evidence, to provide


    253
       Dr. Singh held joint appointments in the Department of International Health and
    Health Policy and Managements and served as the Associate Director at the Center
    for Drug Safety and Effectiveness at Johns Hopkins University until 2016.
    254
       His research has been funded by the Food and Drug Administration, the Agency
    for Health Care Research and Quality, the National Institute of Health and the Patient
    Centered Outcomes Research Institute.


                                             58
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 63 of 76 PageID: 60325




    his professional opinion about whether talcum powder products are causally related

    to ovarian cancer.255 Dr. Singh conducted his own systematic review of the

    epidemiological literature and the cumulative body of evidence which serves as the

    basis upon which he provides his opinions.256

                J&J conditionally argues to exclude Dr. Singh on grounds that he has not

    previously investigated the relationship between talcum powder and ovarian cancer

    and has not published on the issue.257 The PSC has addressed this above in the

    general section on conditional arguments.

                While Dr. Singh has not yet published literature on Talcum Powder Products

    causing ovarian cancer, he testified that it is not a theory of his own making,

    unsupported in existing literature, as there have been more than 30 studies conducted

    on the issue.258 Dr. Singh “evaluated the epidemiologic studies, which show a causal

    link between talc and ovarian cancer, and several other investigators […] provided

    evidence […] of talc-induced […] migration.”259




    255
          Singh Rep. at 3.
    256
          Id.
    257
          See Defs.’ Mem., Qualifications, at 28.
    258
       See Deposition of Sonal Singh, MD, MPH, Jan. 16, 2019 (“Singh Dep.”) at 84:10-
    19, attached as Exhibit 34.
    259
          Id. at 85:9-22.


                                                59
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 64 of 76 PageID: 60326




                Despite J&J’ representations, Dr. Singh did not testify that he was not

    qualified to opine about the existence of the biologically plausible mechanism based

    on the universe of relevant data and published literature. 260 He “provide[s] [his] own

    opinion” on biologic plausibility given his interpretation of the evidence.261 For

    instance, Dr. Singh may defer to Dr. Saed’s expertise on ovarian cancer

    pathogenesis, but his role as an epidemiologist is to “look[] for evidence for or

    against whether information […] induces or reduces ovarian cancer.”262 Similarly,

    Dr. Singh is not offering an interpretation of the evidence to say that it is sufficiently

    proven that “talc is an established mutagen and […] whether it’s a genotoxic or

    nongenotoxic carcinogen,” rather, he is looking for evidence “for or against biologic

    plausibility mechanisms.”263

                J&J further challenges Dr. Singh’s qualifications as to opinions regarding

    asbestos and other talcum powder constituents.264 Importantly, Dr. Singh reports

    that he has reviewed evidence that “talcum powder products contain asbestos,

    fibrous talc, heavy metals such as cobalt, chromium, nickel, and various fragrance




    260
          Id. at 188:22-189:3.
    261
          Id. at 188:10-13.
    262
          Id.
    263
          Id. at 322:5-17.
    264
          See Defs.’ Mem., Qualifications, at 29-30.


                                                60
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 65 of 76 PageID: 60327




    chemicals.”265 The PSC’s response is addressed above in the general section on

    asbestos and other contaminants.266

             M.     Rebecca Smith-Bindman, MD

             J&J contests Dr. Rebecca Smith-Bindman’s opinions by arguing about her

    lack of exposure to talcum powder and ovarian cancer research prior to this

    litigation.267 They further challenge her opinions on biological plausibility and

    talcum powder contaminants as beyond the scope of her expertise.268 Dr. Smith-

    Bindman is well-qualified as to all proffered testimony. Specifically, she is qualified

    to opine that substantial evidence supports a causal association between ovarian

    cancer and genital exposure to talcum powder products.

             Dr. Rebecca Smith-Bindman is a Professor in multiple departments at the

    University of California San Francisco (UCSF) School of Medicine. She graduated

    from Princeton University and attended UCSF medical school. Her subsequent

    training included an internship, radiology residency, clinical fellowship in women’s

    health and a research fellowship in epidemiology and biostatistics.


    265
          Singh Rep. at 14.
    266
        Of note, his causal analysis is not dependent upon the presence of those
    contaminants. He testified that he “arrived at [his] causal opinion independent of
    […] presence of asbestos or […] his understanding of the constituents.” Singh Dep.
    at 270:24-271:12.
    267
          See Defs.’ Mem., Qualifications at 30-31.
    268
          See id. at 31-33.


                                              61
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 66 of 76 PageID: 60328




             Dr. Smith-Bindman is an academic clinician-scientist involved in patient care,

    epidemiological research, and teaching in the UCSF School of Medicine and

    Department of Epidemiology and Biostatistics. Her research expertise is in

    epidemiology, outcomes research, comparative effectiveness, health services

    research, and dissemination and implementation sciences.

             Several of Dr. Smith-Bindman published studies have been systematic, meta-

    analytic, quantitative reviews of the published literature. Her systematic reviews

    focused on the diagnoses of endometrial cancer, breast cancer, and a range of birth

    defects. Many of these reviews were published in prestigious medical journals. In

    addition, Dr. Smith-Bindman has expertise in a range of research study designs,

    including many that addressed causation and cancer risk.269

             J&J argues to exclude the report and testimony of Dr. Smith-Bindman because

    she “had not done any work with respect to talc or its purported connection with

    ovarian cancer” before this litigation.270 The PSC’ response is addressed above in

    the general section on conditional arguments.271


    269
       See generally Expert Report of Rebecca Smith-Bindman, MD, Nov. 16, 2018
    (“Smith-Bindman Rep.”), Exhibit A (Smith-Bindman CV), attached as Exhibit 35.
    270
          Defs.’ Mem., Qualifications at 30-31.
    271
        Additionally, Dr. Smith-Bindman views this as a clear advantage, allowing
    objectivity in her opinions in this litigation. In her words, “Prior to providing my
    opinions on the association between talcum powder products and ovarian cancer, I
    had not reviewed the relevant literature and had not published in this area. As a
    result, I brought an unbiased perspective to my review.” Smith-Bindman Rep. at 8.


                                               62
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 67 of 76 PageID: 60329




                While this litigation might be the first time Dr. Smith-Bindman conducted a

    systematic review of the literature specifically pertaining to talcum powder and

    ovarian cancer this is not her first experience with ovarian cancer. “Much of [her]

    research is in women’s health, including diagnoses of cancers such as ovarian,

    endometrial, thyroid and breast.”272 Prior to the litigation, she “led many large, multi-

    institutional research projects” that “are typically collaborative, involving

    researchers and clinicians with diverse expertise […].”273 In her work as a “prolific

    researcher,” Dr. Smith Bindman “led projects funded by more than 50 million dollars

    in research grants—entirely focused on cancer diagnosis and prediction” and has

    been extensively “published in the most prestigious medical journals.”274

    Significantly, she was lead author on a 2019 study published in JAMA Internal

    Medicine275 reporting diagnosis of ovarian cancer by histologic subtype.

                J&J further seek to limit the testimony of Dr. Smith-Bindman where they

    claim she opines beyond the bounds of her expertise. First, J&J claim that Dr. Smith-

    Bindman is “plainly unqualified” as an epidemiologist to testify about biological




    272
          Id. at 6.
    273
          Id.
    274
          Id.
    275
       Titled Risk of Malignant Ovarian Cancer Based on Ultrasonography Findings in
    a Large Unselected Population.


                                                 63
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 68 of 76 PageID: 60330




    plausibility.276 It makes sense that they could not otherwise find support for this

    argument because analyzing biological plausibility is an integral element of the

    Bradford Hill aspects of causal inference for epidemiological data.277 The PSC’s

    further response is addressed above in the general section on biological plausibility.

             Despite J&J’ claims, Dr. Smith-Bindman does not admit that her opinions on

    biological mechanisms fall outside of the scope of her expertise. In fact, Dr. Smith-

    Bindman testified: “I’m knowledgeable about the biological mechanism of cancer

    as a scientist, as a physician, as a cancer epidemiologist.”278 As a clinical radiologist

    specializing in women’s health, Dr. Smith-Bindman also has direct experience

    demonstrating the potential for the migration and transport of substances through the

    genital tract.279

             J&J challenges Dr. Smith-Bindman’s qualifications to offer opinions

    regarding asbestos and other constituents of talcum powder. The PSC’s response is

    addressed above in the general section on asbestos and other contaminants. Notably,

    Dr. Smith-Bindman clarifies that she is an expert on the health effects of asbestos,




    276
          Defs.’ Mem., Qualifications, at 31.
    277
          Smith-Bindman Rep. at 40.
    278
       Deposition of Rebecca Smith-Bindman, MD, Feb. 7, 2019 and Feb. 8, 2019 at
    285:4-9, attached as Exhibit 36.
    279
          Id. at 363:12-21.


                                                64
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 69 of 76 PageID: 60331




    testifying that “[t]he question is about asbestos, in general, and “she considers

    herself” an expert on the health effects of asbestos.”280

             N.     Judith Zelikoff, Ph.D.

             J&J conditionally contests Dr. Judith Zelikoff’s qualifications by arguing that

    she does “not have a background in talc and ovarian cancer” and that her fragrance

    and asbestos-related opinions are beyond her expertise.281 Dr. Zelikoff is qualified

    as to all proffered testimony and specifically to opine that that “[t]he …evidence of

    the presence of asbestos and fibrous talc in talcum powder products provides a

    biologically plausible explanation for the increased risk of ovarian cancer associated

    with the perineal use of talcum powder products.”282

             Dr. Zelikoff received her Ph.D. in Experimental Pathology and Immunology

    and her post-doctoral training in toxicology at the NYU School of Medicine.283 She

    is currently a tenured professor in Toxicology at NYU and the Director of the

    Community Engagement Core as part of the National Institute of Environmental

    Health Science Center of Excellence.284



    280
          Id. at 22:12-19.
    281
          See Defs.’ Mem., Qualifications, at 34, 36.
    282
        Expert Report of Judith Zelikoff, Ph.D, Nov. 16, 2018 (“Zelikoff Rep.”) at 8,
    attached at Exhibit 37.
    283
          Zelikoff Rep., Exhibit A (Zelikoff CV); Zelikoff Rep. at 1.
    284
          Zelikoff Rep. at 1.


                                                65
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 70 of 76 PageID: 60332




                In the field of toxicology, Dr. Zelikoff has served on NIH Study Sections, the

     United Nations Environmental Programme, NASA boards, and National Academy

     of Science Panels, as well as Environmental Protection Agency study sections and

     advisory boards dealing with topics such as toxic effects of metals.285 She served

     as a member of the NTP (National Toxicology Program) board of advisors,286 where

     she collaborated to determine the carcinogenicity of specific compounds. She has

     over 125 publications and book chapters on immunotoxicology, toxicology, metal

     toxicology, and developmental and reproductive toxicology on topics including

     inhaled metals, nanomaterials, mixtures, dusts and tobacco and nicotine

     toxicology.287

                J&J argues to exclude the testimony of Dr. Zelikoff on the narrow grounds

    that she did not have more in-depth knowledge of talcum powder and ovarian

    cancer prior to being retained in this litigation.288 The PSC’ response is addressed

    above in the general section on conditional arguments.289


    285
          Id.
    286
          Zelikoff CV at 22; Zelikoff Rep. at 1.
    287
          Zeliokff CV at 4-15; Zelikoff Rep. at 1.
    288
          Defs.’ Mem., Qualifications, at 33-34.
    289
        Additionally, Dr. Zelikoff does not offer testimony or opinions that are outside
    of her review of the scientific literature. For instance, when asked about “the number
    of particles of talc necessary to start the biological process,” she testified that the
    answer was “not in the scientific literature” and did not opine beyond her systematic
    review of the relevant scientific literature. Deposition of Judith Zelikoff Ph.D., Jan.

                                                   66
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 71 of 76 PageID: 60333




             J&J has failed to accurately present Dr. Zelikoff’s qualifications on talcum

    powder and ovarian cancer. Dr. Zelikoff is an “expert in toxicology of environmental

    chemicals, including mixtures, including fibers, including particles, including

    talc.”290 She conducted a review of scientific literature to determine “whether there

    is a biologically plausible explanation for the increased risk of ovarian cancer with

    the perineal use of talcum powder products.”291 J&J highlights that Dr. Zelikoff’s

    prior knowledge of talcum powder and ovarian cancer was “superficial,” ignoring

    that she meant that she was not aware of those subjects “to the depth that [she is]

    aware of the issue currently.”292

             In her analysis, Dr. Zelikoff “considered the totality of the evidence,”

    reviewing “the genital use of the talcum powder products, the routes of exposure by

    which talcum powder could reach the ovaries, the composition of the talcum powder

    products, the biological and toxicological effects of talcum powder, and the potential




    21, 2019 (“Zelikoff Dep.”) at 266:10-15, attached as Exhibit 38. Dr. Zelikoff does
    not offer opinions about medical causation that may require prior knowledge in the
    areas of talcum powder and ovarian cancer. Id. at 130:22-131:6. Instead, she
    provides an assessment of the biological plausibility of the “causation of talc for
    ovarian cancer.” Id. at 72:23-73:7. During her deposition, Dr. Zelikoff continuously
    confirmed for defense counsel that her “opinion is based on biological plausibility.”
    Id. at 189:2-15.
    290
          Id. at 490:21-491:6.
    291
          Zelikoff Rep. at 2.
    292
          Zelikoff Dep. at 22:18-22.


                                              67
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 72 of 76 PageID: 60334




    mechanisms of carcinogenesis.”293 Dr. Dr. Zelikoff applies the “same standard for

    assessing biologic plausibility” here as she does in her work at NYU.294 As a member

    of the National Toxicology Program Board of Scientific Advisors, she “reviewed

    documents and provided …guidance on the toxicity of various chemicals

    …[including] the carcinogenicity of specific compounds.”295

             J&J also seeks to exclude Dr. Zelikoff’s testimony on the presence of

    fragrances and asbestos in Talcum Powder Products giving support to a biologically

    plausible mechanism, arguing that “these opinions are far afield from her area of

    expertise.”296 The PSC’s response is addressed above in the general section on

    asbestos and other contaminants.

             By the nature of her profession, Dr. Zelikoff “can review chemicals and make

    a decision or assess their toxicity based on outcomes,” including chemicals in

    fragrances.297 Furthermore, “a toxicologist should be able to go into the literature

    and have a greater knowledge than most people” in researching chemicals.298 Dr.

    Zelikoff’s background includes specific experience with fragrances and asbestos,



    293
          Zelikoff Rep. at 2.
    294
          Zelikoff Dep. at 69:13-17.
    295
          Zelikoff Rep. at 1.
    296
          Defs.’ Mem., Qualifications at 35.
    297
          Zelikoff Dep. 184:8-12.
    298
          Id. at 184:13-185:1.


                                               68
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 73 of 76 PageID: 60335




    and she has lectured on both. Asbestos has been included in lectures on “air

    pollutants and cancer-causing agents.”299

             J&J inaccurately argues that Dr. Zelikoff is not qualified to offer testimony

    about asbestos because she has not done “any professional work regarding

    asbestos.”300 Dr. Zelikoff has worked with asbestos in the context of air pollution.301

    As an expert in toxicology of environmental chemicals, her expertise extends to

    asbestos and fibrous talc.302

             VII. CONCLUSION

             J&J’s conditional motion should be denied. The PSC’s experts possess the

    knowledge, skill, experience, training, and education amounting to “specialized

    expertise” and they meet or exceed the liberal standards of the Third Circuit. They

    are qualified to testify in this matter concerning all proffered testimony.


    Dated:          May 29, 2019              Respectfully submitted,

                                              /s/ Michelle A. Parfitt
                                              Michelle A. Parfitt
                                              ASHCRAFT & GEREL, LLP
                                              1825 K Street, NW, Suite 700
                                              Washington, DC 20006
                                              Tel: 202-783-6400
                                              Fax: 202-416-6392
    299
          Id. at 165:20-166:4.
    300
          See Defs.’ Mem., Qualifications, at 35-36.
    301
          Zelikoff Dep. at 178:8 to 178:14.
    302
          Id. at 491:2 to 491:14.


                                                69
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 74 of 76 PageID: 60336




                                         mparfitt@ashcraftlaw.com

                                         /s/ P. Leigh O’Dell
                                         P. Leigh O’Dell
                                         BEASLEY, ALLEN, CROW, METHVIN,
                                         PORTIS & MILES, P.C.
                                         218 Commerce Street
                                         Montgomery, AL 36104
                                         Tel: 334-269-2343
                                         Fax: 334-954-7555
                                         Leigh.odell@beasleyallen.com
                                         Plaintiffs’ Co-Lead Counsel

                                         /s/ Christopher M. Placitella
                                         Christopher M. Placitella
                                         COHEN, PLACITELLA & ROTH, P.C.
                                         127 Maple Avenue
                                         Red Bank, NJ 07701
                                         Tel: 732-747-9003
                                         Fax: 732-747-9004
                                         cplacitella@cprlaw.com
                                         Plaintiffs’ Liaison Counsel

    PLAINTIFFS’ EXECUTIVE COMMITTEE:
    Warren T. Burns                              Richard Golomb
    BURNS CHAREST LLP                            GOLOMB & HONIK, P.C.
    500 North Akard Street, Suite 2810           1515 Market Street, Suite 1100
    Dallas, TX 75201                             Philadelphia, PA 19102
    Tel: 469-904-4551                            Tel: 215-985-9177
    Fax: 469-444-5002                            rgolomb@golombhonik.com
    wburns@burnscharest.com

    Richard H. Meadow                            Hunter J. Shkolnik
    THE LANIER LAW FIRM PC                       NAPOLI SHKOLNIK PLLC
    6810 FM 1960 West                            360 Lexington Avenue, 11thFloor
    Houston, TX 77069                            New York, NY 10017
    Tel: 713-659-5200                            Tel: 212-397-1000
    Fax: 713-659-2204                            hunter@napolilaw.com
    richard.meadow@lanierlawfirm.com


                                          70
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 75 of 76 PageID: 60337




    PLAINTIFFS’ STEERING COMMITTEE:

    Laurence S. Berman                         Timothy G. Blood
    LEVIN, SEDRAN & BERMAN LLP                 BLOOD, HURST & O’REARDON,
    510 Walnut Street, Suite 500               LLP
    Philadelphia, PA 19106                     701 B Street, Suite 1700
    Tel: 215-592-1500                          San Diego, CA 92101
    Fax: 215-592-4663                          Tel: 619-338-1100
    lberman@lfsblaw.com                        Fax: 619-338-1101
                                               tblood@bholaw.com

    Sindhu S. Daniel                           Jeff S. Gibson
    BARON & BUDD, P.C.                         WAGNER REESE, LLP
    3102 Oak Lawn Avenue, #1100                11939 N. Meridian St.
    Dallas, TX 75219                           Carmel, IN 46032
    Tel: 214-521-3605                          Tel: (317) 569-0000
    Fax: 214-520-1181                          Fax: (317) 569-8088
    sdaniel@baronbudd.com                      jgibson@wagnerreese.com

    Kristie M. Hightower                       Daniel R. Lapinski
    LUNDY, LUNDY, SOILEAU & SOUTH,             MOTLEY RICE LLC
    LLP                                        210 Lake Drive East, Suite 101
    501 Broad Street                           Cherry Hill, NJ 08002
    Lake Charles, LA 70601                     Tel: 856-667-0500
    Tel: 337-439-0707                          Fax: 856-667-5133
    Fax: 337-439-1029                          dlapinski@motleyrice.com
    khightower@lundylawllp.com

    Victoria Maniatis                          Carmen S. Scott
    SANDERS PHILLIPS GROSSMAN, LLC             MOTLEY RICE LLC
    100 Garden City Plaza, Suite 500           28 Bridgeside Boulevard
    Garden City, NJ 11530                      Mount Pleasant, SC 29464
    Tel: 516-640-3913                          Tel: 843-216-9162
    Fax: 516-741-0128                          Fax: 843-216-9450
    vmaniatis@thesandersfirm.com               cscott@motleyrice.com

    Eric H. Weinberg                           Richard L. Root
    THE WEINBERG LAW FIRM                      MORRIS BART, LLC
    149 Livingston Avenue                      Pan America Life Center
    New Brunswick, NJ 08901                    601 Poydras St., 24th Fl.

                                        71
Case 3:16-md-02738-MAS-RLS Document 9886 Filed 05/29/19 Page 76 of 76 PageID: 60338




    Tel: 732-246-7080                          New Orleans, LA 70130
    Fax: 732-246-1981                          Tel. 504-525-8000
    ehw@erichweinberg.com                      Fax: 504-599-3392
                                               rroot@morrisbart.com

    Christopher V. Tisi
    LEVIN PAPANTONIO
    316 South Baylen St.
    Pensacola, FL 32502
    (850) 435-7000
    ctisi@levinlaw.com




                                        72
